Case: 1:14-cv-02196 Document #: 31-1 Filed: 12/11/14 Page 1 of 71 PagelD #:50

MJU/SEA F-4625

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
HELEN HAYHURST, )
Plaintiff,

VS. Court No.: 14 CV 2196
303 TAXI, LLC and JAROSLAVAS BIELIAUSKAS, 5
Individually and as agent of 303 TAXI, LLC, )
Defendants.

STATEMENT OF UNDISPUTED FACTS
NOW COMES Defendant, 303 TAXI, LLC, by and through its attorneys, URGO &

NUGENT, Ltd., and as for its Statement of Undisputed Facts in support of its Motion for

Summary Judgement, states as follows.

1. That on March 27, 2014, the Plaintiff, HELEN HAYHURST, filed a Complaint at Law
alleging she sustained injuries as a result of an automobile accident occurring on
southbound Interstate 294 at or near mile marker 41 in the Chicagoland area, County of
Cook, and State of Illinois on June 10, 2013 while she was a passenger in a taxicab
operated by JAROSLAVAS BIELIAUSKAS.

2. In her Complaint, Plaintiff asserts a claim against 303 TAXI, LLC under a theory of
respondeat superior liability alleging that JAROSLAVAS BIELIAUSKAS was an agent
of 303 TAXI, LLC.

3, That on April 13, 2014, 303 TAXI, LLC was served with a summons and the Complaint.

4, That on May 9, 2014, 303 TAXI, LLC filed its Appearance in this matter.
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That on May 12, 2014, 303 TAXI, LLC filed its Answer to the Complaint denying all
material allegations against it including those allegations tending to establish respondeat
superior liability.

On July 17, 2014, 303 TAXI, LLC sent a letter to Plaintiffs attorney with a copy of the
“Dispatch Equipment Lease” between JAROSLAVAS BIELIAUSKAS and 303 TAXI,
LLC which made clear that the only relationship between those two parties was that of
lessee and lessor. In that letter, 303 TAXI] made clear that it had no control over
JAROSLAVAS BIELIAUSKAS and was not in any way liable for any negligence on the
part of JAROSLAVAS BIELIAUSKAS and requested that Plaintiff voluntarily dismiss
303 TAXI, LLC as a result. Attached hereto as Exhibit A is a true and correct copy of
the July 17, 2014 letter with exhibits omitted. Attached hereto as Exhibit B is a true and
correct copy of the “Dispatch Equipment Lease.”

On August 4, 2014, counsel for 303 TAXI, LLC sent an e-mail to Plaintiffs counsel
requesting a response to the July 17, 2014 letter regarding voluntary dismissal as it had
not yet received a clear answer from Plaintiff's counsel regarding the possibility of a
voluntary dismissal. Attached hereto as Exhibit C is a true and correct copy of the
August 4, 2014 e-mail with attachments omitied.

On August 22, 2014, having still no response from Plaintiff's counsel, counsel for 303
TAXI, LLC sent yet another letter to Plaintiff’s counsel again attaching a copy of the
“Dispatch Equipment Lease” and also including the certificate of insurance, insurance
declarations page, and other insurance policy information, showing that JAROSLAVAS
BIELIAUSKAS is insured under a policy of insurance issued by Starnet Insurance

covering the subject vehicle during the relevant time period. The letter explicitly states
10.

11.

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that it was sent in order to avoid the cost and expense of bringing a motion before the
Court and in the interest of judicial economy, Attached hereto as Exhibit D is a true and
correct copy of the August 22, 2014 letter with exhibits omitted. Attached hereto as
Exhibit E is a true and correct copy of the the certificate of insurance, insurance
declarations page, and other insurance policy information which was attached to the
August 22, 2014 letter.

On September 12, 2014, having still received no response from Plaintiff's counsel
regarding voluntary dismissal of 303 TAXI, LLC, counsel for 303 TAXI, LLC, sent
another e-mail to counsel requesting a response to the request for voluntary dismissal of
303 TAXI, LLC, explicitly in order to avoid the cost and expense of a motion for
summary judgment and in the interest of judicial economy. Aitached hereto as Exhibit F
is a true and correct copy of the September 12, 2014 e-mail with exhibits omitted.

That early on in the litigation of this matter 303 TAXI, LLC took the position that it was
merely a dispatch company, was not an employer or principal of JAROSLAVAS
BIELIAUSKAS, and had no control over JAROSLAVAS BIELIAUSKAS such that it
cannot be liable under a theory of repondeat superior liability, and 303 TAXI, LLC has
never abandoned this position.

Despite its numerous requests and diligent efforts toward voluntary dismissal with an eye
to avoid using the Court’s time and resources in unnecessary motion practice, counsel for
303 TAXI, LLC had not received an answer from Plaintiff's counsel one way or another
with regards to the voluntary dismissal of 303 TAXI, LLC. As a result, on December 1,

2014 (refiled on December 11, 2014 with leave of Court), counsel for Defendants filed a
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timely motion for summary judgment requesting that 303 TAXI, LLC be dismissed from
the lawsuit with prejudice as an improper party.

303 TAXI, LLC is a taxi dispatch company which leases certain dispatch equipment for
use of taxi drivers. Attached hereto as Exhibit G is a true and correct copy of the
Affidavit of Anre Nisenboim; See 2.

JAROSLAVAS BIELIAUSKAS was not an employee of 303 TAXI, LLC on or about
June 10, 2013. Ex. G, Nisenboim AIf,, 3.

303 TAXI, LLC did not pay salary to JAROSLAVAS BIELIAUSKAS. Ex. G,
Nisenboim Aff., 4.

303 TAXI, LLC did not withhold taxes on behalf of JAROSLAVAS BIELIAUSKAS.
Ex. G, Nisenboim Aff, {5.

303 TAXI, LLC had no authority to determine the hours that the cab was operated by
JAROSLAVAS BIELIAUSKAS. Ex. G, Nisenboim Aff., {6.

303 TAXI, LLC had no authority to determine which customers JAROSLAVAS
BIELIAUSKAS picked up. Ex. G, Nisenboim Aff, 7.

303 TAXI, LLC had no right to share in any profits or losses made through the use of the
medallion or the cab by JAROSLAVAS BIELIAUSKAS. Ex. G, Nisenboim Aff’, 8.
JAROSLAVAS BIELIAUSKAS was not required to report the location of the cab while
driving, maintain a trip sheet, keep a written record of fares, or report fares collected to
303 TAXI, LLC. Ex. G, Nisenboim Aff., 99.

303 TAXI, LLC was not the owner of the vehicle operated by JAROSLAVAS

BIELIAUSKAS at aforesaid time. Ex. G, Nisenboim Aff., 10.
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21. 303 TAXI, LLC did not pay for gas usage during cab operations nor controlled where gas
could be purchased by JAROSLAVAS BIELIAUSKAS, Ex. G, Nisenboim Aff, Q11.

22. 303 TAXI, LLC was not responsible for maintenance of vehicle and did not require
JAROSLAVAS BIELIAUSKAS to use specific maintenance services. Ex. G, Nisenboim

Aff, 912.

WHEREFORE the Defendant, 303 TAXI, LLC, respectfully requests this Honorable
Court to enter an order granting summary judgment in its favor, dismissing 303 TAXI, LLC with

prejudice and for any such other and further relief as this Honorable Court deems just and

 

appropriate.
Respectfully submitted
URGO & NUGENT, LTD.
Add. {/ LE ~
Sr flu V7 :
One of the Attorneys for Defendant
303 Taxi, LLC
URGO & NUGENT, LTD.
2 N. LaSalle Street
Suite 1800

Chicago, IL 60602
(312) 263-6635
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URGO & NUGENT, LTD, 330 South Naperville Road Sta, 240
ATTORNEYS AT LAW Wheaton, iL 60187
TWO NORTH LASALLE STREET Telephone {630) 653-0123
SUITE 1800 .

CHICAGO, IL 60602
TELEPHONE (312) 263-6635
FACSIMILE (312) 263-1329

IN REPLY
Refer to File No.: F-4625

July 17, 2014

Mr, Joel F. Handler
One East Wacker Drive, Suite 510
Chicago, IL 60601

RE: Helen Hayhurst vs. 303 Taxi, LLC. and Jaroslavas Bieliauskas
Court No.: 14-CV-2196

Dear Mr, Handler:

Enclosed please find a copy of the Dispatch Equipment Lease Agreement between Jaroslavas Bieliauskas and 303
‘Taxi, LLC which outlines the relationship between the parties.

As you will see, 303 Taxi, LLC simply leased certain dispatch equipment, including a display terminal, radio, and
meter to Mr. Bieliauskas, and as made explicit in paragraph 6, the only relationship between 303 Taxi, LLC and
Mr, Bieliauskas was that of lessor and lessee. Paragraph 6 also makes clear that Mr. Bieliauskas was solely
responsible for the operation of the taxicab, which he owned, was responsible for all tax obligations in connection
with the operation of the taxicab, and was responsible for any liability in connection with his operation of the
taxicab.

303 Taxi, LLC was only responsible for routine maintenance of the leased dispatch equipment, Mr, Bieliauskas
was free to decide whether to accept or decline a fure, and 303 Taxi, LLC had no control over his route should he
choose accept a fare, 303 Taxi did not hire, train, disciple or exercise any amount of contro] over Mr. Bicliauskas
in connection with Mr, Bieliquskas’ operation of the taxicab.

Therefore, at the time of the incident alleged in the Complaint, Mr, Bieliauskas was not acting as an employee or
agent of 303 ‘Taxi, LLC, and we request that you voluntarily dismiss 303 Taxi, LLC from this lawsuit so that we
may avoid unnecessary motion practice.

EXHIBIT

 
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Please contact the undersigned at your earliest convenience to discuss the matter,

Very truly yours,
URGO & NUGENT, LTD.

Sarah E, Albrecht

SEA
Enclosures
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DISPATCH EQUIPMENT LEASE AGREEMENT

This Agreement (“Agreement”) is entered into as of the date set forth below by and between
JAROSLAV BIELIAUSKAS an Owner of Taxicab Medallion No #344 the “Taxicab”) and 303
Taxi, LLC d/b/a 303 Cab Association (“Lessor”): VA. N

Lessee hereby agrees to lease from Lessor the Dispatch Equipment herein described in
accordance with the following terms and conditions;

1. Dispatch Equipment. The Dispatch Equipment subject to this Lease Agreement
consists of the following specific items identified by serial number:

 

 

 

 

 

 

Quantity 23/0100 HH M056 ital — GOS-)3
1. _ Display Terminal Of; (JB)
Keypad _ | (_) N
1 Radio GO 900 /6/ OK By
1 Meter S124: ok (QB) “\
ss MCU Box _ C__) N
a GPS — (__)
Credit Card Swipe Box __ | ()
ss Control Bex C__)
________ Computer Dispatch Terminal a)

Antenna CD)

 

 

together with all associated wiring and components, replecement parts, enhancements,
replacement equipment, accessions and all proceeds of the foregoing (hereinafter “Dispatch,
Equipment”), Lessee’s initials shall acknowledge receipt of each such item.

2. Installation, Lessor agrees to install the Dispatch Equipment in the Taxicab
identified above free of charge to Lessee one time only. If Lessee changes vehicles, Lessee shalt
pay Lessor an equipment transfer fee to install the Dispatch Equipment in the replacement vehicle,
The current transfer fee is $225, which amount may be increased on notice to Lessee,

3, Equipment Lease Fees, Lessee hereby agrees to lease Dispatch Equipment (Model
# 2008) from Lessor for use in the Taxicab, Lessee shall pay the lease fees for the Dispatch

 
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the Dispatch Equipment at such times and in such amounts as provided in Exhibit A attached
hereto, which may be changed by Lessor at any time upon notice to Lessee at the Lessor's
principal office. The lease payments shall commence on the date on which the Dispatch”
Equipment is installed on Lessee’ vehicle and terminate on the date on which the final lease
payment is made, After the final lease payment is made, Lessee shall have the option to purchase
the Dispatch Equipment for One Dollar by notifying Lessor within 30 days thereof,

4, Lessee Responsibility, Lessee (a) shall be wholly responsible for the care and
safekeeping of the Dispatch Equipment including the cost of any replacement parts except as
otherwise herein expressly provided, and (b) assumes all risk with respect to the theft, loss,
damage by any means, defacement or ay other deliberate or negligent act that damages any
portion of the Dispatch Equipment, Lessee will not be responsible for normal wear and tear,
normal maintenance, and defects covered by any manufacturer’s warranty, Lessee agrees that all
work, maintenance and repairs will be performed by a contractor designated by Lessor, which
contractor is COM/RAD Radio, 1781 Oakton, Des Plaines, Illinois (847-296-2850) until Lessor
gives Lessee notice of a replacement contractor,

5, Lessor Responsibility. Lessor will perform routine maintenance on the Dispatch
Equipment and components so long as Lessee faithfully performs all of its obligations hereunder,
Lessor will have no responsibility or liability to Lessee for any failure of the Dispatch Equipment
or any direct or consequential damages arising there from, including without limitation any
damages for any interruption in the Lessee’s business occasioned or caused by an inability to use
the Dispatch Equipment for any reason; provided, however, that Lessor will use its commercially
reasonable best efforts to make available fo Lessee substitute or replacement components to
minimize Lessee’s down time as a result of any failure of the Dispatch Equipment.

6. Parties’ Retationship. The relationship between the parties created by this
Agreement shall be that of lessee and lessor. Nothing contained in this Agreement shall be
construed to constitute Lessee or Lessor as an agent, partner or joint | enture of the other, it
being intended that the parties-in all-respects hereunder be lessee or lessor relative to each other,
and separately responsible for their own actions and the actions of any of their respective agents,
servants, and/or employees,

Unless expressly authorized by the other in writing, neither party shall have any authority
to make any contract, agreement, warranty or representation, or in any way to bind the other to
any obligation or liability whatsoever. Lessee agrees not to take any action or file any claim or
tax return that is inconsistent with Lessee’s status as a sole proprietor or incorporated entity,
whichever the case may be. :

Lessee is solely responsible for the safe and Jawful operation of the Taxicab, Lessee
. Shall have full responsibility for the payment of all federal, state and local taxes and contributions
and any penalties and interest attributable to all remuneration earned from its business, including
among others, those taxes or contributions imposed or required pursuant to unemployment
insurance, social security, income tax and workers’ compensation. In addition, Lessee, shall be
solely responsible for any liability to third parties resulting from (i) the negligent or intentional
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acts or omissions of Lessee, its agents and employees, or (ii) the services provided to the public
by Lessee or a driver engaged by Lessee to operate Lessee’s vehicle.

Lessee hereby acknowledges that Lessor does not offer Lessee any protection or
indemnification from or against any risks associated with the public transportation business,
including, but not limited to, the risk of personal injury to a driver or others, All claims against
Lessor and its affiliates, employees, officers, owners, agents, representatives, successors and
assigns relating to or erising out of such risks are hereby irrevocably waived by Lessee.

7. Indemnification, Lessee shall indemnify and hold harmless Lessor and its
affiliates, officers, owners, employees, owners and agents from and against any and all liabilities,
damages, fines, penalties, costs, claims, demands and expenses (including costs of defense,

_ settlement and reasonable attomeys’ fees) of whatever type or nature, including damage to or
destruction of any property, or injury to or the death of any person, to the extent arising out of
(a) Lessee’s acts or omissions in the conduct of its business including, without limitation, any
claim of injury or wrongful death relating to any drivers of its vehicle, passengers or any other
party injured in the course of the conduct of the Lessee’s business; (b} the manufacture, delivery,
possession, maintenance, condition (including without limitation latent and other defects whether
or not discoverable by Lessor), use, operation, control, loss, damage, destruction, removal,
return, storage, surrender, leasing, sale or other disposition of the Dispatch Equipment; or (c} the
breach or default by Lessee of this Agresment or any applicable federal, state or Jocal law,
statute, regulation, rule, ordinance or government directive governing or applicable to Lessee’s
performance of this Agreement. The indemnity obligation of the Lessee pursuant to this
Paragraph 7 shall survive the expiration or other termination of this Agreement,

8. Security. To secure the performance by Lessee of all its obligations hereunder
(including but not limited to the Lessee’s obligation to make the payments provided by
Paragraphs 2 and 3 hereof), Lessee hereby grants to Lessor a security interest in and to (a) the
Taxicab or any replacement vehicle in which the Dispatch Equipment is installed, (b} Lessee’s
rights as a licensee to conduct Its business which may be embodied in and known as a taxicab
“medallion,” {¢) all rights of Lessee in the Dispatch Equipment to the extent not reserved to
Lessor hereunder, (d) any membership rights in 303 Taxi, L.L.C, d/b/a 303 Cab Association]
and € all enhancements, replacements, accessories and proceeds of any of the foregoing
(collectively, the “Collateral”). Lessee agrees that Lessor may prepare and file financing
statements in order to perfect its security interest in the Collateral, Lessee agrees to sign such
documents as may be necessary to evidence Lessor’s security interest in Lessee’s taxicab in the
Dinois vehicle title records.

9. Breach, Any of the following shall constitute a breach hereof:

(g) Any failure of Lessee to pay when due any amounts required to be
paid under this Agreement;

(b) Lessee becoming insolvent, being subject to any proceedings under
the bankruptcy or insolvency laws or entering into an assignment
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for the benefit of creditors, or Lessee’s property being placed under
the custody of a receiver or trustee:

(c) Death, disability or dissolution of Lessee;

(dq) The sale, acquisition, merger or change of the majority ownership
of Lessee;

€ Failure of Lessee and/or any drivers of its vehicle to at all times
during the Term hereof be properly licensed pursuant to. all
applicable state and municipal laws and regulations;

(h} ‘The theft, ioss, destruction or substantial damage to or alteration of
the Collateral, whether in whole or in part;

(i) The sale, transfer or misuse of the Collateral; or

(1) Lapse of any insurance required herein or by applicable laws or
regulations.

10, Remedies and Termination, In the event of a breach of this Agreement by Lessee,
Lessor shall have the right to immediately terminate this Agreement by giving written notice to
Lessee, Upon such termination, Lessor shall, in addition to any other rights or remedies provided
by law, have the right, without notice to Lessee, to take possession of the Collateral wherever
found, and for this purpose Lessor and/or its agents may enter upon any property or premises of
ot under the contro] or jurisdiction of Lessee or any agent of Lessee without lability for suit,
action or other proceedings by Lessee (any damages occasioned by such repossession being
hereby expressly waived by Lessee) and remove the Collateral there from. Additionaily, as to
any item of Collateral, Lessor shall have all rights and remedies provided to secured creditors
under the Hlinois Uniform Commercial Code, In the event of the occurrence of a material breach
of this Agreement by Lessor, which is continuing, Lessee shall give Lessor written notice of such
breach. Lessor shall thereafter have as much time as may be necessary to cure such breach,
provided that Lessor shall diligently prosecute such cure, If such cure is nat effected within 30
days of the date of Lessee’s written notice of the breach, Lessee shail have the option to
terminate this Agreement by giving Lessor written notice of such termination.

11, Insurance, Lessee shall obtain and maintain during the Term hereof insurance in
such forms and amounts, with such carriers, and insuring against such risks as may be reasonably
_. specified and approved by Lessor, naming Lessor as an additional insured, Such insurance
coverage shail include, but not necessarily be limited to, three hundred thousand dollars
($300,000) in liability coverage. Lessee shali supply Lessor with certificates of insurance
evidencing such coverage from time to time throughout the Term hereof. Lessee shail also
maintain such coverage for a three (3) year period following the expiration or other termination
of this Agreement in order to protect the Lessor (which shall continue to be an additional insured
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for such period) as to any claims filed during that period which arise out of occurrences during
the Term hereof.

12, General.

(k) Nature of Agreement, This Agreement is a bona fide lease and gives Lessee no
property interest or rights in the Dispatch Equipment other than the right of
possession expressly granted herein,

(b) No Waiver and No Assignment. No delay on the part of either party in the
exercise of any right or remedy shall operate as a waiver thereof, and no single or partial oxercise

‘by either party of any right or remedy shall preclude other or further exercise thereof or the
exercise of any other right or remedy. The waiver of any breach or condition of this Agreement
by either party shall not constitute a precedent in the future enforcement of any of the terms and
conditions of this Agreement. Lessee may not assign this Agreement without the prior written
consent of Lessor, which consent may. be withheld at the sole discretion of Lessor. Subject to the
foregoing, this Agreement shall be binding upon and shall inure to the benefit of the parties
hereto and their respective heirs, estates, legal representatives, successors and assigns, This
Agreement shall not be binding on Lessor until an original, duly executed on behalf of Lessor, is
delivered to the Lessee, Tender of an unsigned copy of this Agreement shall not be deemed an
offer and Lessor reserves the right to refuse to enter into this Agreement for any reason it deems
appropriate in the exercise of its discretion.

(c) Further Assurances, Each party agrees to cooperate with the other and to
execute and deliver all such additional documents and instruments, and to take all such other
actions, as the other party may reasonably request from time to time to fully effectuate the
provisions and purposes of this Agreement,

(d) Notices. All correspondence, invoices or notices required or permitted
hereunder or process relating hereto shall be in writing and signed by an officer or authorized
agent of the party giving notice or sending such correspondence or invoices, and shall be deemed
to have been given when hand-delivered by personal delivery or by Federal Express or similar
courier service, when received by electronio facsimile transmission (with the confirmation -
message slip generated by the sending facsimile machine, if any, creating a rebuttable
presumption of such receipt), or upon receipt if sent by United States mail, registered or certified,
with postage prepaid, return receipt requested, addressed as follows;

If to Lessor, at:

9696 W. Foster Ave
Chicago, IL 60656
Attention: Henry Elizar
Fex: 847-368-8940
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If to Lessee, at:

 

 

Attention:

 

Facsimile:

or to such other address or facsimile number as sither party may designate for itself by notice
given to the other party from time to time in accordance with the provisions hereof.

€ Governing Law; Forum Selection, This Agreement is being negotiated,
executed and delivered in the State of Illinois, and the validity, interpretation, construction and
enforceability of this Agreement shall be governed in all respects by the laws of the United
States, where applicable, and the internal laws (but not the laws of conflicts) of the State of
Ukinois, Any proceeding or suit instituted or commenced with respect to this Agreement shall be
brought in a federal or state court having its situs in the City of Chicago, Winois. The parties
hereby consent to the jurisdiction and venue of said courts and waive any objections they may
have based on the doctrine of forum non-conveniens.

(f) Third Parties. Nothing herein expressed or implied is intended or shall be
construed to confer upon or give any person or entity, other than the parties hereto and their
respective permitted successors and assigns, any rights or remedies under or by reason of this
Agreement,

(g}  Attomeys Fees, In the event that either party brings an action or
proceeding against the other party to enforce the provisions of this Agreement or to recover
damages ag a result of e breach of this Agreement or from any other cause arising out of this
Agreement, the prevailing party shall be entitled to reasonable attorney’s fees from the losing
party in addition to costs and disbursements.

(D Authorization. The individuals signing below on behalf of any entity hereby
personally represent and warrant that they are duly authorized to execute and
deliver this Agreement on behalf of such entity and that the entity will thereby be
bound by this Agreement, which will be enforceable against such entity in
accordance with the terms hereof.
* Case: 1:14-cv-02196 Document #: 31-1 Filed: 12/11/14 Page 14 of 71 PagelD #:63

[SEGNATURE PAGE TO FOLLOW]
IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed as of the day and year first written above.

Date: 01/09/2012

LESSEE; LESSOR:

 

 
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Sarah Albrecht

From: Sarah Albrecht

Sent: Monday, August 04, 2014 12:20 PM

To: ‘Joel F, Handler’

Cc: Michael Urge

Subject: 303 Taxi adv, Hayhurst; Our file No.: F-4625
Attachments: 7.18.14 Counsel Let re Lease Agreement F-4625.pdf
Joel,

Attached is our July 17, 2014 letter seeking the voluntary dismissal of 303 Taxi because it is sim ply a dispatch
company. We have not received a response from you. Please contact me to discuss the matter.

Sincerely,
Sarah E. Albrecht

Urgo & Nugent, Ltd.
2.N, LaSalle St., Suite 1800

” Chicago, IL 60602

Phone: (312)263-6635
Fax: (312)263-1329
e-mail: salbrecht@urgoandnugentitd.com

1
v-,

EXHIBIT

Cc

 
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URGO & NUGENT, LTD. 330 South Naperville Road Ste. 240
ATTORNEYS AT LAW Wheaton, IL 60187
TWO NORTH LASALLE STREET Telephone (630) 653-0123
SUITE 1800

CHICAGO, IL 60602
TELEPHONE (312) 263-6635
FACSIMILE (312) 263-1329

IN REPLY
Refer to File No.: F-4625

August 22, 2014
Mr. Joel F. Handler
One East Wacker Drive, Suite 510
Chicago, IL 60601
jhandlerlawgroup.com Via regular mail and e-mail

Re: Hayhurst v. Bieliaukas, et al.
Court no.: 14 CV 2196

Dear Mr, Handler,

Attached please find a copy of our July 17, 2014 correspondence with attached dispatch and
equiptment lease agreement between 303 Taxi, LLC and Jaroslavas Bieliaukas which makes clear that 303
Taxj had no control over Mr. Bieliaukas and that Mr. Bieliaukas was not acting as an employee or agent of
303 Taxi at the time of the accident, As such, we again request that you voluntarily dismiss 303 Taxi from
this lawsuit.

- Lam also attaching our e-mail of August 4, 2014 through which we again requested that you
voluntarily dismiss 303 Taxi, LLC. We have not yet received a response.

I am also attaching a copy of the certificate of insurance and other relevant documents indicating
_ that a policy of insurance was issued to Bieliaukas which covered the date of the accident, and which were
previously provided to you in response your request for production of documents.

1 ask that you voluntarily dismiss 303 Taxi, LLC from this lawsuit within the next seven (7) days,

so that we can avoid the time expense associated with a motion to dismiss. Thank you in advance for your
anticipated cooperation, and don’t hesitate to contact me with any questions or comments.

Very truly yours,

Spook fli

Sarah E, Albrecht

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MJU/SEA
Case: 1:14-cv-02196 Document #: 31-1 Filed: 12/11/14 Page 17 of 71 PagelD #:66

Sarah Albrecht

From:

Sent:

To:

Cc:

Subject:
Attachments:

Joel,

Sarah Albrecht

Friday, August 22, 2014 1:36 PM
jhandler@handlerlawgroup.com

Michael Urgo

303 Taxi adv. Hayhurst; Our file No,: F-4625
counsel ltr, 8.22.2014.pdf

Per our discussion today and in light of the very short notice, Mr. Bieliauskas will not be available for his deposition on
August 22, 2014. In addition, he will need a Russian interpreter. Again, we cannot take the plaintiff's deposition until
we receiver copies of all of her medical records. Subpoenas have been issued and we recently began receiving some,

but not all, responses.

Per our discussion, | await your demand.

lam also attaching a copy of the letter that will be mailed to you today requesting the voluntary dismissal of 303 Taxi,
LLC which is merely a dispatch company which had no control over Mr. Bieliauskas who was neither its employee or

agent.

Don’t hesitate to contact me or Mr. Urgo with any questions or comments.

Sincerely,

Sarah E. Albrecht

Urgo & Nugent, Ltd.
2 N. LaSalle St., Suite 1800

Chicago, iL 60602

Phone: (312)263-6635
Fax: (312)263-1329

e-mail: salbrecht@urgoandnugentitd.com
Case: 1:14-cv-02196 Document #: 31-1 Filed: 12/11/14 Page 18 of 71 PagelD #:67

 

4CORD’ CERTIFICATE OF LIABILITY INSURANCE eT

afti2013

 

 

THIS GERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND GONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
BELOW. THIS CERTIFICATE OF INSURANGE.DOES NOT CONSTITUTE A CONTRACT BETWEEN THE [SSUING INSURER(S}, AUTHORIZED
REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.

 

IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy{ies) must be endorsed. If SUBROGATION IS WAIVED, subject to
the terms and conditions of the policy, certain policiss may require an endoreement. A statement on this certificate does not confer rights to the
coertificats holder [n Neu of such endorsement(s),

 

 

 

 

 

 

 

 

 

 

 

 

 

PRODUCER Easier Gab Insurance Agency CONTACT NAME:
Chicago, IL 60658 one tale ay _s12-781-03
| E-MAIL ADDRESS: sbosy@bunlic. som
INSURERIS] AFFORDING COVERAGE NAIC
www. buplle,com INSURER At 40045
INSURED: a.
Jaroslavas Bieliauskas INSURER B
320 W Ivy Ln LINSURER ¢ |
Arlington Heights IL 80004-3038 INSURER D:
INSURER E:
: INSURER F3
COVERAGES CERTIFICATE NUMBER: 715526444 REVISION NUMBER:

 

 

THIS iS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED. TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
INDICATED, NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY GONTRAGCT OR OTHER DOCUMENT WITH RESPECT To WHICH THIS
CERTIFICATE MAY BE JSSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN |S SUBJECT TO ALL THE TERMS,
EXCLUSIONS AND CONDITIONS OF SUCH POLICIES, LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nee TYPE OF INSURANCE DLR) POLICY NUMBER Boer eee een LaMiTs
| SENERAL LIABILITY EACH OCCURRENCE 5
COMMERCIAL GENERAL LABILITY , Eeesyoa ‘tea cecaurence} 5
? DLAIMS-MADE cCccUR MED EXP (Any ona parson) | &
| PERSONAL & ADY INJURY $
ml GENERAL AGGREGATE 5
GENL AGGREGATE LIMIT APPLIES PER: PROBUGTS - DOMP/DF AGG |$
| |pouoy| [RBS | toc 5
A LAUTOMOBILELABILITY CAABE01 935 q2o1s "[s/f20i4 | ROMBINER SINGLE CMI "7 350,000
| ANY AUTO ' BODILY INJURY (Per person) | 5
Passa [7] reps BODY ERY Pree
HiREDAUTOS |__| Runbe NEP Per ween OE 5
| ‘ 5
$
UMBRELLA LIAB CccUR ZACH OCCURRENCE $
[lexcessuias | | ctaIMS-MADE AGGREGATE $
| loco |_| Rerennions $
5
5
ND EMPLOYERS LIABILITY vIN [wey iis | [SEER
SOOT RR NSEE RT TUTVE TJ Uwsa E.L, EACH ACCIDENT $
intandatory inNH) E.L. DISEASE - FA EMPLOYEE} $
BESGRIE TION OF OPERATIONS balow E.l. DISEASE - POLICY LIMIT | §
A | UM/UIM CAAGEOTIS5  - 12013 iMRod = [$40,000 CSL
DESCRIPTION OF OPERATIONS / LOGATIONS/ VEHICLES (Atfach ACORO 101, Addianal Remarks Schedule, I mem space [= required)
Cab No,: 344 Plale No. 28830TX Vehicle Year/Make/Model: 2010 CHRYSLER T&C Yaenhicle VIN Ne, 2A4RRSDIXAR266592
Shouid any of the above policies be cancallad befor: the expiration date shown above, the issuing insurer will tall a written notlee 10 days
In advance of cancellation to the certificate holdar named below,
CERTIFICATE HOLDER . CANCEL LATION .
SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
SSN TE anes Teiotinice wiacncoateyesiena, ME PEED

Chicago IL 60630

 

AUTHORIZED REPRESENTATIVE

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ACORD 25 (2040/05) The AGORD name and loge are registered marks of ACORD

 

 

Jonrey Spratt

 

GERT ND.2 LSS2644¢4 CLIENT COPE; 7032 + 2014 Tom Deemenm 3/1/2023 Fi3eiBe AM Page 2 of 1

   

 
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POLICY NUMBER : COMMERCTAL AUTO
CAA 6601935- ti CA DS 03 03 06

BUSINESS AUTO DECLARATIONS

StarNet Insurance Company
ITEM ONE

 

Named Insured & Mailing Address: Agent Name & Address: 100123
(847) 368-8528

JAROSLAVAS BIELIAUSKAS
320 W. IVY BN Hastern Insprance Agency
BRLINGTON HEIGHTS, IL 60004 5200 North Otte Avanue
Chicage, II 60656-1011

 

 

Policy Period

 

From: January 1, 2013

 

 

 

 

 

Mo: January 1, 2014 At 12:01 A.M. Standard Time at your mailing address.

Previous Policy Number: CAR 6601935-10

Form Of Business: Corporation Limited Liability Company Individual
Partnership Other: °

In return for the payment of the premium, and subject to all the terms of this policy,
we agree with you to provide the insurance as stated in this policy.

Premimm shown is for policy period above. ¢ iin
Audit Period
(If Applicable) : Annually Semi~Annually Quarterly Monthly

ents Attached To This Policy:

 

 

 

 

 

 

Im 00 03 —- Calculation of Premium

TE 00 17 - Common Policy Conditions {Ti 01 46 in Washington)

Th 00 21 - Broad Form Nuclear Buclusion (not applicable in New York}

IL 78 40 TG - Policyholder and Applicant Notice - Civil Unions - Illinois

CADS7725 (08-09), CAQODL (03-06), CAQ1Z0 (06-03), CAOZ7G (08-94), CAZ001 (03-06},
GA20LB (12-93), CAZ130 (11-08), CAI384 (01-06), GAZ394 (03-56), CA7510 (08-06),
CA7533 (OB-09), CA75401L (10-11), CA7BO1EL (05-41), CA9GS4 (07-97).

TLPST7IOL (04-11), TL0162 (63-08),

 

 

Countersignature Of Authorized Representative
Wane;
Title:
Signature:
Bate:

 

 

 

ca DS 03 03 06 SO Properties, Inc., 2005 Page ¢
Original ‘
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ITEM TWO
Schedule Of Coverages And Covered Autos

This policy provides only those coverages where a charge is shown in the premium
column below. Each of these coverages will apply only to those "aytos" shown as
covered "autos", "Autos" are shown as covered “autos” for a particular coverage by the
entry of one or more of the symbols from the Covered Autos Sestion of the Business
Auto Cowerage Ferm next to the name of the coverage. .

 

Coverages & Limits . Covered Autos Premium

Liabilit 10 S a |

Limit = § 350,000 CSL

 

 

Personal Injury Protection &

{Or Equivalent No-Fault Coverage)

Limit = Separately Stated In Each PIP Endorsement
Minus § Deductible. .

 

Added Personal Injury Protection $

(Or Equivalent Added No-Fault Coverage}

Limit = Separately Stated In Bach Added PIP
Endorsement

Extraordinary Medical Benefits 5
Limit = Separately Stated ln each Extraordinary
Medical Benefit Endorsement

 

 

 

Bute Medical Payments §
Limit = §
Medical Expense And Income Loss Benefits $

(Virginia Only)
Limit = Separately Stated In Hach Medical Expense
And Income Less Benefits Endorsement

Uninsured Motorists LO $ ‘asp
Limit = § 40,000 CSL ;

 

 

Underinsured Motorists §
(When Not Included In Uninsured Motorists Coverage)
Limit = § ,

 

Supplementary Uninsured Motorists $
Limit = §

The maximum amount payable under SUM Coverage shall
be the policy's SUM limits reduced and thus offset

by motor vehicle bodily injory liability insurance

policy ox bond payments received from, or on behalf
of, any negligent party involved in the accident as
specified in the SUM endorsement.

 

 

 

 

 

tage 2 ISO Properties, Inc., 2005 C& BS 03 03 06
original .
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ITEM TWO
Schedule Of Coverages And Covered Autos (Continued)

 

 

Coverages & Limits Covered Autos Prenium
Physical Damage Camprebensive Coverage $
rimit = Actual Cash Valne Or Cost Of Repair,

Whichever Is Less, Minus
§ Deductible For Each Covered
Avto, But No Deductible Applies To Loss

Caused By Fire Or Lightning.
See Item Four For Hired Or Borrowed Autos.

 

Physical Damage Specified Causes Of Loss Coverage §
Limit = Actual Cash Valne Or Cost Of Repair,
Whichever Is Less, Minus
$ Deductible For Each Covered
Ruto For Loss Caused By Mischief
Or Vandalisn.
See Item Four For Hired Or Borrowed Antes.

 

Physical Damaye Collision Coverage §
Timit = Actual Cash Value Or Cost Of Repair,
Whichever Is Less, Minus

 

$ Deductible For Each Covered

ante.

See Item Four For Hired Or Borrowed Autos.
Physical Damage Towing And Labor §
Linit = $ For Bach Disablement Of A

Private Passenger Auto.

 

 

Preminm For Endorsements
Estimated Total Premium * oc
*This Policy May Be Subject To Final Audit.

 

 

 

 

 

 

*SER ENDORSEMENT CA9954

CA DS 03 03 06 Tso Properties, Inc., 2005 Page 9
- Case: 1:14-cv-02196 Document #: 31-1 Filed: 12/11/14 Page 22 of 71 PagelD #:71

TYEM THREE -~- Schedule Of Covered Autos You Own

 

 

 

 

Veh DESCRIPTION Original Stated
Now Cost Nest —Amopot_
1 2010 CHRYSLER TOWN & COU 2A4RRSEDIXAR? 665 92 § $
CLASSIFICATION TERRITORY (Principal Garage Location)
Veh Code Radius Usa Size
Bow idles) (ve).
1 4158 ARLINGTON HEIGHTS Th Terr: 115
COVERAGES
Personal Medical
Injury Extra Med Expense

Veh CSL Protection Mad

Pay & Income Uninsured Underinsured SUM
1 350 40

ité. Limit

*« Limits Shewn Are in Thousands
Prd i

 

PREMIUMS

 

 

 

 

 

Veh Basic Addl Extra Had Med Exp .
No. C8 SBIR  OPTB Med Bay f§ Income — OM TM. __ SM
1 5 ina
PHYSICAL DAMAGE COVERAGE PHYSICAL DAMACH PREMTUMS TOTAL PREMTOM
Deductibles Towing a
Veh Comp Spec Coll & Labor | Comp Spec Coil Towing
ia. Peril Lint ~ ___ ss Peril sé Ce 3 _
LOSS PAYERS

Veh Except for Towing, All Physical Damage Loss Is Payable To You And The
Row Loss Payee Named Belew As Interesta May Appear At The Time Of The Loss
Page 4 180 Ereperties, Inc., 2005 CA DS 03 03 06
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ITEM FOUR
Schedule Of Hired Or Borrowed Covered Auto Coverage And Premiums

 

Lisbility Coverage - Rating Basis, Cost Of Hire

 

 

Estimated Cost Of Rate Fer Each Factor {(T£ Liability
State | Hire For Zach State | §100 Cost Of Hire | Coverage Is Primary) {| Premium
3 §

 

Liability Coverage - Rating Basis, Number Of Days -
(For Mobile Or Farm Equipment - Rental Period Basis)

Estimated Number Of
Days Equipment Will
Be Rented

 

 

 

 

 

 

 

State Base Premium Factor Premiun
5 $
Total Premium &

 

 

 

Cost of hire méans the total amount you incur for the hire of "autos" you don't own
(not including “autos” you borrow or rent from your partners or "employees" or their
family members). Cost of hire does not include charges for services parformed by motor
carriers of property or passengers,

Physical Damage Coverage

 

Coverages Limit Of Insurance

 

Actual Cash Value Or Cost Of Repair, Whichever Is less, Minus
$§ Deduetible For Each Covered Auto,

 

 

Comprehensive But No Deductible Applies To Loss Caused By Fire Or Lightning,
Estimated Annual Rate Per Each Gimp
Cost O£f Hire Annual Cost Of Hire Premium
3 $ 3

 

 

 

Actual Cash Value Ox Cost Of Repair, Whichever Is Less, Minus
$ Deductible For Fach Covered Auto For Loss

 

 

Specified Caused By Mischief Or Vandalisn.

Causes Of Loss
Estimated Annual Rate Per Each =
Cost Of Hire Annual Cost Of Hire Premium
§ $ $

 

Actual Cash Value Or Cost Of Repair, Whichever Is Less, Minus
$ Deductible For Each Covered Auto.

 

 

 

 

 

 

 

 

 

 

Collision
Eatimated Annual Rate Per Each
Cest Of Hire Annual Cost Of re Premium
a $ $
Total Premium: | 5 1 .
CA DS 05 03 06 IS0 Properties, Inc,, 2005 Page §

Original
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ITEM FIVE
Schedule For Non-Ownership Liability

 

 

 

 

 

 

Named Insured's
Business Rating Basis Number Premium
Other Than Garage Number Of Employees
Service Operations
And Other Than Number Of Partners §
Social Service
Agencies
Garage Service Number Of Employees 5s
Operations Whose Principal Duty
involves The Operation Of Autos
Social Service Agencies | Number Of Employees
Number OF Volunteers

 

 

 

Total Premiums

 

 

 

 

ITEM SIX

Schedule For Gross Receipts Or Mileage Basis - Liability Covera -
Public Auto Or Leasing Rental Concerns ¥ ge

Location Ne:

One Gross Rece

ted Yeariy:

ty
Auto Medical Payments

ts (VA ¥

Tncome Loss Benefits

ty
Aut¢ Paymen
Medical Expense ts (VA Gnly}

Income Lose Benefits (VA

 

 

 

Page 6 180 Properties, Tho,, 2005 CA DS 03 OF 06 |
Case: 1:14-cv-02196 Document #: 31-1 Filed: 12/11/14 Page 25 of 71 PagelD #:74

ty
cel Payments

Minimum Expense
Minimum Income Loss
ty
Payments
Expense tes
Income Loss Benefits (VA Onl

 

 

Location Number | Addrese

 

 

 

 

 

When used as a premium basis:

FOR PUBLIC AUTOS

Gross Receipts means the total amount to which you are entitled for transporting
passengers, mail or merchandise during the policy period regardless of whether you or
any other carrier originate the transportation. Gross Receipts does not include:

A. Amounts you pay to railroads, steamship lines, airlines and other motor carriers
operating under their own ICC or PUC permits.

B. Advertising revenue.

c. Taxes which you collect as a separate item and remit directly to a gowernmental-
division.

dD. C.0,D. collections for cost of mail ox merchandise ineluding collection fees.

Mileage means the total live and dead mileage of all revenue producing unite operated
during the policy period.

FOR RENTAL OR LEASING CONCERNS

Gross receipts means the total amount to which you are entitled for the leasing or
rental of "autos" during the pelicy period and includes taxes except those taxes which
you collect as a separate item and remit directly to a governmental division.

Mileage means the total of all live and dead mileage developed by all the "autos" you
leased or rented to others during the policy period.

CA Ds 03 03 06 180 Properties, Inc., 2005 . Page 7
Original .
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CAR 6601935 - 11 01/01/13 SSC 1/25/33

SCHEDULE OF “INSURED (S)"

This Schedule continues Item One of the Declarations of this policy.

The following person(s) and/or organization(s) are authorized driver “insured (s}";

DOH; DLE:

No; Name of Authorized Driver(s):

TARO BIBLIAUSKAS
002 SLAVAS 05/21/1978 B42242078145

cA DS 77 25 08 08 , Copyright 2008 StarNet Insurance Company _
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Cap 6607935 + li 01/01/13 550 01/25/13

SCHEDULE OF "INSURED (S)"

ach persen or organization shown in the Schedule below is an “insured” for Liability Coverage,
but only to the extent that person or organization qualifies as an “insured” under the Who Is
Bn ingured Provision contained in Section II - Liability Coverage of the Coverage Form.

Na: Name of "instred” person(s) or organization(s):

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Case: 1:14-cv-02196 Document #: 31-1 Filed: 12/11/14 Page 28 of 71 PagelD #:77

&} St a rN et PROGRAM ADMINISTRATOR:

can ann TNSUPANGE SGMPANY

A Berkley Company A Stock Company
Demiclie Office: Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801

Home Office: 475 Steamboat Road, Greenwich, CT 06830
Underwriting Office: 311 South Wacker Drive, Suite 3225, Chicago, IL 60606 (312) 368-1107

IN WITNESS WHEREOF, StarNet Insurance Company has executed and attested these presents.

Secretary President

1L DS 77 01 04 14 ® 2011 StarNet insurance Company Page 1 of 7
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iL 00 21 09 08

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

NUCLEAR ENERGY LIABILITY EXCLUSION
ENDORSEMENT

(Bread Form)

This endorsement modifies insurance provided under the following:

' COMMERCIAL AUTOMOBILE COVERAGE PART
COMMERCIAL GENERAL LIABILITY COVERAGE PART
FARM COVERAGE PART
LIQUOR LIABILITY COVERAGE PART
MEDICAL PROFESSIONAL LIABILITY COVERAGE PART

OWNERS AND CONTRACTORS PROTECTIVE UABILITY COVERAGE PART

POLLUTION LIABILITY COVERAGE PART

PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

RAILROAD PROTECTIVE LIABILITY COVERAGE PART
UNDERGROUND STORAGE TANK POLICY

4. The insurance does not apply: . GC, Under any Liability Coverage, to "bodily injury”
per n teal or “property damage” resulting from “hazard-

A. or ronan ane verage, to "bodily tajury’ ous properties” of “nuctear material", if;
(1} With respect to which an "insured" under (1) The "nuclear material" (a) is at any “nuclear

the policy is also an insured under a nu-
clear energy liability policy issued by Nu-
clear Energy Liability Insurance Associa-

facility’ owned by, or operated by or on be-
half of, an "insured" or (b) has been dis-
charged or dispersed therefrom;

tion, Mutual Atomic Energy  Liabiity (2) The “nuclear material’ is contained in

Underwriters, Nuclear Insurance Associa-
tion of Canada or any of their successors,
or would be an insured onder any such peol-
icy but for its termination upon exhaustion

"spent fuel" or "waste" at any time pos-
sessed, handled, used, processed, stored,
transported or disposed of, by or on behalf
of an "Insured’; or

of its lirnit of Hability; or (3) The "bodily Injury” or "property damage"

(2) Resulting from the “hazardous properties”
of “nuclear material” and with respect to
which (a} any person or organization is re-
quired to maintain financial protection pur-
suant to the Atomic Energy Act of 1954, or
any law amendatory thereof, or {b) the "in-
sured” is, or had this policy not been issued
would be, entitled to Indemnity from the
United States of America, or any agency
thereof, under any agreement entered into

arises out of the fumishing by an “Insured”
of services, materials, parts or equipment in
connection with the planning, construction,
maintenance, operation or use of any "hu-
clear facility”, but if such facility is located
within the United States of America, Its teri-
tories or possessions or Canada, this ex-
clusion (3) applies only to "property dam-
age” to such "nuclear facility’ and any
property thereat,

by the United States of America, or any 2. As used in this endorsement:

agency thereof, with any person of organ
zation.

"Hazardous properties” includes radioactive, toxic

B. Under any Medical Payments coverage, to explosive properties. .
expenses incurred with respect te "bodily in- Nuclear material” means “source material", "spe-
jury’ resulting from the "hazardous properties” cial nuclear material" or "by-product material".

of “nuclear material” and arising out of the op-
eration of a "nuclear faciity’ by any person or
organization.

IL 00 214 O8 D8 ® |SO Properties, Inc., 2007 Page 1 of 2
Page 2 of 2

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"Source material’, "special nuclear material", and
“by-product material” have the meanings given
them in the Atomic Energy Act of 1954 or in any
jaw amendatory thereat,

"Spent fuel” means any fuel element or fue] com-
ponent, solid or liquid, which has been used or ex-
posed to radiation in a “nuclear reactor”,

"Waste" means any waste material (a} containing
"by-product material” other than the tailings or
wastes produced by the extraction or concentra-
tion of uranium or thorkum from any ore processed
primarily for its "source material” content, and {b)
resulting from the operation by any persof or or-
ganization of any "nuclear facility” included under
the first two paragraphs of the definition of "nu
clear facility",

"Nuclear facility” means:

(a) Any "nuclear reactor";

(b) Any equipment or device designed or used
for {1} separating the isctopes of uranium or
plutonium, {2) processing or utilizing “spent
fuel”, or (3) handling, precessing or packag-
ing “waste”,

* ISO Properties, Inc., 2007

(c} Any equipment or device used for the prac-
essing, fabricating or alloying of "special
nuclear material if at any time the total
amount of such materia! in the custody of
the “Insured” at the premises where such
equipment or device is located consists of
er contains more than 25 grams of plute-
nium or uranium 233 er any combination
thereof, or more than 250 grams of uranium
235:

{d) Any structure, basin, excavation, premises
or place prepared or used for the Storage or
disposal of "waste";

and includes the site on which any of the foregaing
is located, afl operations conducted on such site
and all premises used for such operations.

"Nuclear reactor” means any apparatus designed
or used to sustain nuclear fission in a self-
supporting chain reaction or to contain a critical
mass of fissionable material.

"Property damage” inchides ail forms of radioac~
tive contamination of property,

IL 00 21 08 OB

5
Case: 1:14-cv-02196 Document #: 31-1 Filed: 12/11/14 Page 31 of 71 PagelD #:80

IL 01 62 09 08
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

ILLINOIS CHANGES — DEFENSE COSTS

This endorsement modifies insurance provided under the following:

COMMERCIAL AUTOMOBILE COVERAGE PART

COMMERCIAL GENERAL LIABILITY COVERAGE PART

COMMERCIAL LIABILITY UMBRELLA COVERAGE PART

COMMERCIAL PROPERTY COVERAGE PART ‘LEGAL LIABILITY COVERAGE FORM
COMMERCIAL PROPERTY COVERAGE PART MORTGAGEHOLDERS ERRORS AND OMISSIONS
COVERAGE FORM

EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART

FARM COVERAGE PART

FARM UMBRELLA LIABILITY POLICY

LIQUOR LIABIUTY COVERAGE PART

MEDICAL PROFESSIONAL LIABILITY COVERAGE PART

OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
POLLUTION LIABILITY COVERAGE PART

PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

PRODUCT WITHDRAWAL COVERAGE PART

RAILROAD PROTECTIVE LIABILITY COVERAGE PART

UNDERGROUND STORAGE TANK COVERAGE PART

A. The provisions of Paragraph B. are’ added to all B. if we Initially defend an insured (insured) or pay

iL D1 G2 08 08

Insuring Agreements that set forth a duty to de-
‘fend under:

4, Section | of the Commercial General Liabllity,
Commercial Liability Umbreiia, Employment
Related Practices Liability, Farm, Liquor L-
ability, Owners And Contractors Protective Li-
abifity, Pollution’ Liability, Products/Completed
Operations Liability, Product Withdrawal,
Medical Professional Liability, Raltroad Pro-
tective Liability, Underground Storage Tank
Coverage Parts and the Farm Umbrella Liabil-

ity Policy;

2. Section 1] Liability Coverage In Paragraph

A. Coverage under the Business Auto, Ga-
rage, Motor Carrier and Truckers Coverage
Forms;

3, Section A. Coverage under the Legal Liability
Coverage Form, and .

4, Coverage C Mortgageholder's Liability
under the Morigageholders Errors And Omis-
sions Coverage Form.

* $0 Properties, Inc., 2007

for an insured's (‘insured's"} defense but later de-
termine that the claim/(s) is (are} net covered un-
der this Insurance, we will have the right to reim-
bursement for the defense costs we have
incurred,

The right to reimbursement for the defense costs
under this provision will only apply to defense
costs we have incurred after we notify you in writ-
ing that there may net be coverage, and that we
are reserving our rights to terminate the defense
and seek reimbursement for defense costs.

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IL P0041 D1 04

U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
ASSETS CONTROL ("“OFAC"
ADVISORY NOTICE TO POLICYHOLDERS

No coverage is provided by this Pollcyhalder Notice nor can it be construed to replace any provisions of your pol
Icy. You should read your policy and review your Declarations page for complete information on the coverages you
are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC, Please read this Notice carefully,
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
deciarations of "national emergency”, OFAC has identified and Ested numerous:

1 Foreign agents;

"1 Front organizations;

1 Terrorists;

1 Terrorist organizations; and

1 Narcotics traffickers; ;
as "Specially Designated Nationals and Blocked Persons”. This Mist can be jocated on the United States Treasury's
web site inttp/Awwnw.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as Hentified by OFAC, this insurance will be considered a blocked or frozen contract and ai

provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
a blocked or frozen contract, no payments por premium refunds may be made without authorization from OFAC.

Other Jimitations on the premiums and payments also apply.

iL P O04 C1 04 ® 1SO Properties, Inc., 2004 Page 1 of 4
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POLICYHOLDER AND APPLICANT NOTICE CIVIL UNIONS, ILLINOIS

NO COVERAGE IS PROVIDED BY THIS NOTICE, YOU SHOULD READ YOUR POLICY AND ALL OF THE
ENDORSEMENTS FOR COMPLETE INFORMATION ON THE COVERAGES YOU ARE PROVIDED.

THIS NOTICE HAS BEEN PREPARED IN CONJUNCTION WITH THE PASSAGE OF THE RELIGIOUS
FREEDOM PROTECTION AND CIVIL UNION ACT ("THE ACT} 750 ILCS 75/1

Effective on 1 June 2011 The Religious Freedom Protection and Civil Union Act, 750 ILCS 75/1 became
effective in Ulinois, Under this statute certain terms used in insurance policies have been changed as follows:

A. The term spouse, w henever that term appears ina policy or in an application for insurance coverage for
any person resident in tllinots, includes a party to a civil union recognized under Illinois law.

R, The term “family member” whenever that term appears in a policy or In an application for Insurance
coverage for any person resident in Ifinois, includes a party to a civil union recognized under Illinois law.

SHOULD YOU HAVE ANY QUESTIONS REGARDING THIS NOTICE PLEASE CONTACT YOUR
PRODUCER.

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COMMERCIAL AUTO
CA 00 04 03 06

BUSINESS AUTO COVERAGE FORM

Various provisions in this policy resirict coverage.
Read the eniire policy carefully to determine rights,
duties and what is and is not covered.

Throughout this policy the words "you" and “your” re-
fer ta the Named Insured shown in the Declarations.
The words "we", "us” and “our” refer to the Company
providing this insurance.

Other words and phrases that appear in quotation
marks have special meaning. Refer to Section V
Definitions.

SECTION | COVERED AUTOS

item Two of the Declarations shows the “autos” that
are covered “autos” for each of your coverages. The
following numerical symbols describe the “autos” that
may be covered "autos". The symbols entered next to
a coverage on the Declarations designale the only
“autos” that are covered "autos".

A. Description Of Covered Auto Designation
Symbois

 

Symbol

Description Of Covered Auto Designation Symbols

 

1

Any “Auto”

 

2

Owned “Autos”
Onty

Oniy those “autes" you own (and for Liability Coverage any “trailers” you don't own
while attached to power units you own). This Includes those “autos” you acquire
ownership of after the policy begins.

 

Quwned Private
Passenger
"Autos" Only

Only the private passenger “autos” you own. This includes those private passenger
"autos" you acquire ownership of after the policy begins. .

 

Owned “Autos”
Other Than Pri-
vate Passenger
“Autos” Onfy

Only those "autes” you own that are not of the private passenger type {and for Li-
ability Coverage any “trailers” you don't own while attached to power units you
own). This includes those "autos" not of the private passenger type you acquire
ownership of after the policy begins.

 

Owned "Autos" ”
Subject Ta No-
Fault

Oniy those "autos" you own that are required to have No-Fault benefits in the state
where they are licensed or principally garaged. This includes those "autos" you
acquire ownership of after the policy begins provided they are required to have No-
Fauk benefits in the state where they are licensed or principally garaged,

 

Owned "Autos"
Subject To A
Compulsory Un-
insured Mator-
ists Law

Only those "autos" you own that because of the law in the state where they are li-
censed or principally garaged are required to have and cannot reject Uninsured
Motorists Coverage. This includes those "autes” you acquire ownership of after the
policy begins provided they are subject Io the same state uninsured motorists re-
quirement.

 

Spectically De-
scribed "Autos"

Only those “auios" described in em Three of the Declarations for which a pre-
mium charge Is shown {and for Liability Coverage any "trailers" you don't own while
attached to any power unit described in liem Three).

 

Hired “Autos”
Only

Only those “autos” you lease, hire, rent or borrow. This does not include any “aute"
you lease, hire, rent, or borrow from any of your "employees", pariners (if you are a
partnership), members (if you are a limited fiability company) or members of their
households.

 

 

_ | Nonowned

"Autos" Only

Only those "autos" you do not own, jease, hire, rent or borrow that are used in con-
nection with your business. This includes “auios” owned by your "employees",
partners (if you are a partnership), members (if you are a limited [ability company),
or members of their households but only while used in your business or your per-
sonal affairs.

 

 

 

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419 Mobile Equip- Only those "autos" that are land vehicles and that would qualify under the definition
ment Subject To of "mobile equipment” under this policy if they were not subject to a computsory or
Compulsory Or — financial responsibility law or other motor vehicle insurance law where they are Ii-
Financial Re- censed or principally garaged.

sponsibility Or
Other Motor Ve-
hicle Insurance
Law Only

 

 

 

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&. Owned Autos You Acquire After The Policy

Begins

4. lf Symbols 4, 2, 3, 4, 5, 6 or 19 are entered
next to a coverage in Item Two of the Declara-
tions, then you have coverage far “autes" that
you acquire of the type described for the re-
mainder of the policy period.

2. But, if Symbol 7 ts entered next to a coverage
in Iter Two of the Declarations, an "auto" you
acquire will be a covered "auto" for that cover-
age only if:

a. We already cover all "autes” that you awn
for that coverage or It replaces an "auto"
you previously owned that had that cover-
age; and

b. You tell us within 30 days after you acquire
it that you want us to cover it for that cover-
age,

. Certain Trailers, Mobile Equipment And

Temporary Substitute Autos

Hf Liabiity Coverage is provided by this Coverage

Form, the following types of vehicles are also cov-

ered “autos” for Liability Coverage:

4. “Trailers” with a Joad capacity of 2,000 pounds
or jess designed primarily for travel on public
roads.

2. “Mobile equipment" while being carried or
towed by a covered “auto”,

3. Any "auto" you do not own while used with the
permission of its owner aS 4 temporary substi
tute for a covered “auto” you own that ts out of
service because of its:

a. Breakdown;
, Repair;

, Servicing;

. “Loss or

. Destruction.

oauoge

* iSO Properties, Inc., 2005

SECTION {| LIABILITY COVERAGE
A. Coverage

We will pay all sums an “insured* legally must pay
as damages because of "hodify Injury” or "property
damage" to which this insurance applies, caused
by an “accident” and resulting from the ownership,
maintenance of use of a covered “auto”.

We will alsa pay all sums an “insured” legally must
pay as a “covered pollution cost or expense” ta
which this insurance applies, caused by an "accl-
dent’ and resulting from the ownership, mainte-
nance or use of covered “autos”. However, we will
only pay for the "covered pollution cost or ex-
pense” if there Is either “bodily injury” or “property
damage” to which this insurance appiies that is
caused by the same “accident”.

We have the right and duty to defend any “Insured” .

against a “suit” asking for such damages or a
"covered pollution cost or expense", However, we
have no duty to defend any “insured” against a
"suit" seeking damages for "bodily injury” or "prop-
erty damage" or a “covered pollution cost or ex-
pense” to which this insurance does not apply. We
may investigate and settle any claim or "suit" as
we consider appropriate, Our duty to defend or
settle ends when the Liability Coverage Limit of In-
surance has been exhausted by payment of judg-
ments or settlements,

1. Who |s An Insured

The following are "insureds":

a You for any covered "auto".

b. Anyone’ else while using with your penmis-
sion a covered “auto” you owm, hire or bor-
row except:

(1} The owner or anyone else from whom
you hire or borrow a covered “auto”,
This exception does not apply if the

covered “auto” is a "trailer" connected to
a covered "auio” you own,

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(2) Your "employee" if the covered "auto" is
owned by that “employee” or a member
of his or her household.

(3) Someone using a covered "auto" while
he or she Is working in a business of
selling, servicing, repairing, parking or
storing “auios* unless that business is
yours,

(4) Anyone other than your "employees",
pariners {if you are a partnership),
members (if you are a limited fiability
company}, or a Jessee or borrower or
any of their "employees", while moving
property to or from a covered "auto".

(6) A partner (if you are a partnership), or a
member (if you are a limited lability
company) for a covered "auto" owned by
him er her or a member of his or her
household.

c. Anyone liable for the conduct of an “in-
sured" described above but only to the ex-
tent of that liability,

2. Coverage Extensions

a, Supplementary Payments
We will pay for the "insured":
(1) Ail expenses we incur.
(2) Up to $2,000 for cost of bail bands {in-
cluding bonds for related traffic law vio-
lations) required because of an "acci-

dent’ we cover, We de not have to fur-
nish these bonds.

{3} The cost of bonds to release attach-
ments in any “suit" against the "insured"
we defend, but only for bond amounts
within our Limit of insurance,

(4) All reasonable expenses incurred by the
"insured" at our request, including actual
loss of eamings up to $250 a day be-
cause of time off from work,

(5) All costs taxed against the “Insured” in
any “suit” against the "insured" we de-
fend.

(6) All interest on the full amount of any
judgment that accrues after entry of the
judgment in any “suit” against the “in-
sured” we defend, but our duty to pay in-
terest ends when we have paid, offered
to pay or deposited in court the part of
the judgment that is within our Limit of
Insurance.

These payments will not reduce the Limit of
Insurance,

b. Out-Of-State Coverage Extensions

While a covered “auto” is away from the
state where it is licensed we will:

(i} Increase the Limit of Insurance for LI-
ability Coverage to meet the limits speci-
fied by a compulsory or financial re-
sponsibility faw of the jurisdiction where
the covered "auto" is being used. This
extension does not apply to the limit or
limits specified by any law governing
motor carriers of passengers or prop-
erty.

(2) Provide the minimum amounts and
types of other coverages, such as no-
fault, required of out-of-state vehicles by
the jurisdiction where the covered “auto”
is being used.

We will not pay amyone mare than once for

the same elements of loss because of these
extensions.

B, Exclusions

This insurance does not apply to any of the follow-

ing: ‘

1. Expected Or Intended Injury
"Bodily injury” or "property damage” expected
or intended from the standpoint of the "in-
sured".

2. Contractual

Liability assumed under any contract or
agreement

But this exclusion does not apply to lability for
damages:

a, Assumed In a contract of agreement that is
an “insured contract” provided the “bodily
Injury" or “property damage" occurs subse-
quent to the execution of the contract or
agreement; or

b, That the “Insured” would have in the ab-
sence of the contract or agreement.
3. Workers’ Compensation

Any obligation for which the “insured” or the
‘insured's" insurer may be held Itable under
any workers’ compensation, disability benefits
or Unemployment compensation law or any
similar law.

4. Employee Indemnificatlon And Employer's
Liability
"Bodily injury” to:
a. An "employee" of the “insured” arising out
of and in the course of:
(1} Employment by the “insured” or

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(2) Performing the duties related to the con-
duct of the "insured's” business; or

b. The spouse, child, parent, brother or sister
of that "employee" as a consequence of
Paragraph a. above.

This exclusion applies:

{1} Whether the “insured” may be iiable as
an employer or in any other capacity;
and

(2) To any obligation to share darnages with
or repay someone else who must pay
damages because of the Injury.

But this exclusion does not apply to "bodily in-
jury” to domestic “employees” pot entitled to
workers" compensation benefits or fo fiahility
assumed by the "insured" under an “insured
contract”. For the purposes of the Coverage
Form, a domestic "employee" Is a person en-
gaged in household cr domestic work per-
formed principally in connection with a resi-
dence premises.

Fellow Employse

"Bodily injury® to any fellow “employee” of the
“insured” arising out of and inthe course of the
fellow “employee's” employment or while per-
forming duties related to the conduct of your
business.

. Care, Custody Or Control

*Property damage" to or "covered pollution cost
or expense” involving property owned or trans-
ported by the "Insured" or in the “insured's"
care, custody or control. But this exclusion
does not apply to liability assumed under a
sidetrack agreement

. Handling Of Property

"Bodily injury” or “property damage” resulting
from the handiing of property:
a, Before it is moved from the place where it is

accepted by the “insured” for movement

into or onto the covered "auto"; or

b. After it is moved from the covered “auto” to
the place where it is finally delivered by the
"insured",

, Movement Of Property By Mechanical

Device

"Bodily injury" or “property damage” resulting
from the movement of property by a mechani-
caf device {other than a hand tuck) unless the
device is attached to the covered “auto”,

3.

40.

11.

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Operations

“Bodily injury” or "property damage" arising out

of the operation of:

a, Any equipment Ested in Paragraphs §.b.
and 6.c, of the definition of "mobile equip-
ment"; ar

b. Machinery or equipment that is on, attached
to, of part of, a land vehicle that would qual-
ify under the definition of “mobile equip-
ment" if it were not subject to a compulsory
or financial responsibility law or other motor
vehicle insurance law where itis fieensed or
principally garaged.

Completed Operations

“Bodily injury" or "property damage" arising out

of your work after that work has been com-

pleted or abandoned,

In this exclusion, your work means:

a Work or operations performed by you or on
your behalf; and

b. Materials, parts or equipment furnished in
connection with such work or operations,

Your work includes warranties or representa-
tions made at any time with respect to the fit-
ness, quality, durability of performance of any
of the items included in Paragraph a, or b.
above,

Your work will be deemed completed at the
earliest of the following times:

(1) When all of the work called for in your
contract has been completed,

(2} When all of the work to be done at the
site has been cormpleted if your contract
calls for work at more than one site,

(3) When that part of the work done at a job
site has been put to its intended use by
any person or organization other than
another contractor or subcontractor
working on the same project.

Work that may need service, maintenance, cor-
rection, repair or replacement, but which is
othenwise complete, will be treated as com-
pleted, ;

Pollution

"Bodily injury” or "property damage" arising out
of the actual, alleged or threatened discharge,
dispersal, seepage, migration, release or es-
cape of “pollutants”:

a, That are, or that are contained in any prop-
erty that is:

(1) Being transported or towed by, handled,
or handled for movement into, onto ar
fram, the covered "auto"

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(2) Othenvise in the course of transit by or
on behalf of the "insured"; or

(3) Being stored, disposed of, reated or
processed in or upon the covered “auto";

b, Before the "poliutants” or any property In
which the “pollutants” are contained are
moved fram the place where they are ac-
cepted by the “Insured” for movement Into
or onto the covered "auto"; or

c, After the "pollutants" or any property in
which the “pollutants” are contained are

c. Insurrection, rebellion, revolution, usurped
power, or action taken by governmental au-
thority in hindering or defending against any
of these.

43. Racing

Covered “auies" while used in any professional
or organized racing or demolition contest or
stunting activity, or while practicing for such
contest or activity. This insurance also does not
apply while that covered "auto" is being pre-
pared for such a contest or activity.

Cc. Limit Of Insurance

Regardless of the number of covered "autos", "in-
sureds", premiums paid, claims made or vehicles
involved in the "accident", the most we will pay for
the total of all damages and "covered pollution
cost or expense” combined, resulting fram any one
“accident” is the Limit of Insurance for Liability
Coverage shown in tha Declarations,

All "bodily injury", “property damage” and "covered
pollution cost or expense” resulting from continu-
ous or repeated exposure to substantially the
same conditions will be considered as resulting

from one "accident”,

No one will be entitled to réceive duplicate pay-
ments for the same elements of "loss" under this
Coverage Form and any Medical Payments Cov-
erage Endorsement, Uninsured Motorists Cover-
age Endorsement or Underinsured Motorists Cov-
erage Endorsement attached to this Coverage

moved from the covered "auto" to the place
where they are finally delivered, disposed of
or abandoned by the “insured”.

Paragraph a. above does not apply to fuels, lu-
bricants, fluids, exhaust gases or other similar
“pollutants” that are needed for or result from
the normal electrical, hydraulic or mechanical
functioning of the covered “auto” or its parts, if:

(1) The "pollutants" escape, seep, migrate,
or are discharged, dispersed or released
directly from an “auto” part designed by
its manufacturer to hold, store, receive
or dispose of such "polfutants"; and

(2) The “bodily injury", “property damage” or
"covered pollution cost or expense”
does not arise out of the operation of
any equipment listed in Paragraphs 6.b.
and 6.c. of the definition of “mobile
equipment".

Paragraphs b, and c. above of this exclusion Part,
do not apply to “accidents” that occur away SECTION Rl-PHYSICAL DAMAGE COVERAGE
from premises owned by or rented to an “in- A. Coverage

sured" with respect to “pollutants” not in or
t p 1. We will pay for “loss” to a covered “auio" or Its

12.

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upon a covered “auto” if:

(1) The "pollutants" of any property in which
the “pollutants” are contained are upset,
overtumed or darnaged as a result of the
maintenance or use of a covered "auto";
and

(2) The discharge, dispersal, seepage, ml-
gration, release or escape of the "pallut-
ants” fs caused directly by such upset,
overturn or damage. “

War

*"Badity injury" or "property damage" arising di-

rectly or indirectly out of:

a, War, including undectared or chil war,

b. Warllke action by a military force, including
action in hindering or defending against an
actual or expected attack, by any govern-
Tnent, sovereign or other authority using
military persanne! or other agents; or

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equipment under,
a. Comprehensive Coverage
From any cause except

(1} The covered “auto's” collision with an-
other object or

(2) The covered "auto's" overturn.
b. Specified Causes Of Loss Coverage
Caused by;
(1} Fire, lightning or explosion;
(2) Theft;
(3) Windstorm, hail or earthquake;
{4} Flood;
(5) Mischief or vandalism; or

{6} The sinking, burning, callision ar derail-
ment of any conveyance transporting the
covered "auto",

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no
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c. Collision Coverage
Caused by:
(1) The covered “atsto’s" callision with an-
other object; or
{2) The covered “auto's” overlum.

2. Towing

We will pay up to the limit shown in the Decta-
rations for towing and labor costs incurred each
time a covered “auto” of the private passenger
type Is disabled, However, the labor must be
performed at the place of disablement.

, Glass Breakage Hitting A Bird Or Animal —
Falling Objects Or Missiles

if you carry Comprehensive Coverage for the
damaged covered “auio", we will pay far the
following under Comprehensive Coverage:

a, Glass breakage;

b. “Loss” caused by hitting a bird or animal
and

c. “Loss” cattsed by falling objects or missiles.

However, you have the option of having glass

breakage caused by a covered “auio's” calli-

sion or overturn considered a "loss" under Col-

lision Coverage.

, Coverage Extensions

a, Transportation Expenses
We wil pay up to $20 per day to a maxi-
tum of $600 for temporary transportation
expense incurred by you because of the to-
tal theft of a covered “auto” of the private
passenger type. We will pay only for those
covered "autos" for which you carry either
Comprehensive or Specified Causes of
Loss Coverage. We will pay for temporary
transportation expenses incurred during the
period beginning 48 hours after the theft
and ending, tegardiess of the policy's expi-
ration, When the covered “auto” is returned
to use of we pay for its "loss",

b, Loss Of Use Expenses
For Hired Auto Physical Damage, we will
pay expenses for which an “insured” be-
comes legally responsible to pay for loss of
use of a vehicle rented or hired without 4
driver, under a written rental contract or

agreement We will pay for loss of use ex-

penses if caused by:

(1) Other than collision only if the Dectara-
tions indicate that Comprehensive Cov-
erage is provided for any covered
“auto”

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(2) Specified Causes Of Loss only ff the
Declarations indicate that Specified
Causes Of Loss Coverage is provided
for any cavered "auto" or

(3) Collision only if the Declarations indicate
that Collision Coverage is provided for
any covered "auto".

However, the most we will pay for any ex-

penses for loss of use is $20 per day, to a
maximum of $600.

B. Exclusions
4. We will not pay for “loss” caused by or resulting

from any of the following, Such "loss" is ex-
cluded regardless of any other cause or event
that contributes concurrently or in any se-
quence to the "Inss”.

a. Nuclear Hazard
(1) The explosion of any weapon employing
atomic fission or fusion; ar
(2) Nuclear reaction or radiation, or radioac-
tive contamination, however caused.

b. War Or Military Action
(1) War, including undeclared or civil war;

(2) Warllke action by a military force, includ-
ing action in hindering or defending
against an actual or expected attack, by
any government, sovereign or other au-
thority using military personnel or other
agents; or

(3) Insurrection, rebellion, — revolution,
usurped power or action taken by gov-
emmental authority in hindering or de-
fending against ary of these.

. We will not pay for "lass" to any covered "auto"

while used in any professional or organized
racing or demofition contest or stunting activity,
or while practicing for such contest or activity.
We will also not pay for "loss" to any covered
“auto” while that covered "auto" is being pre~
pared for such a contest or activity.

. We will not pay for “loss” caused by or resulting

from any of the following unless caused by
other “loss” that is covered by this insurance:

a Wear and tear, freezing, meshanical or
electrical breakdown.

' b, Blowouts, punctures or other road damage

to tires,

. We will net pay for "less" to any of the follow.

ing:

a, Tapes, records, discs or other similar audio,
visual or data electronic devices designed
for use with audio, visual! or data electronic
equipment

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b. Any device designed or used to detect
speed measuring equipment such as radar
or laser detectors and any jamming appara-
tus intended to elude or disrupt speed
measurement equipmert,

c. Any electronic equipment, without regard to
whether this equipment is permanently in-
stalled, that receives or transmits audio,
visual or data signals and that is not de-
signed solely for the reproduction of sound,

3. Ifa repair or replacement results in better than
like kind or quality, we will not pay for the
amount of the betterment,

. Deductible

For each covered "auto", our obligation to pay for,
repair, return or replace damaged ar stolen prop-
arty will be reduced by the applicable deductible
shown in the Declarations, Any Comprehensive
Coverage deductible shown in the Declarations
does not apply to “less” caused by fire or fightning.

d. Any accessories used with the electronic
equipment described in Paragraph c.
above,

Exclusions 4.0, and 4.4, do not apply ta:

SECTION IV BUSINESS AUTO CONDITIONS

The following conditions apply in addition to the
Common Policy Conditions:

A. Loss Conditions

CA 00 Of 03 05

a. Equipment designed solely for the repre-

tuction of Sound and accessories used with .

such equipment, provided such equipment
is permanently installed in the covered
“auto” at the time of the “loss” or such
equipment is removable from a housing unit
which is permanently installed in the cav-
ered "auto" at the time of the "loss", and
such equipment is designed to be solely
operated by use of the power from the
“auto's” electrical system, In of upon the
covered “aute"; or

b. Any other electronic equipment that is:

(1} Necessary for the normal operation of
the covered “auto” or the monitoring of
the covered “auto's” operating systern;
or

(2) An integral part of the same unit housing
any Sound reproducing equipment de-
scribed in Paragraph a. abave and per-
manently installed in the opening of the
dash or console of the covered “auto”
normally used by the manufacturer for
installation of a radio.

5. We will not pay for "loss" to a covered “auto"
due to “diminution in value".

G. Limit Of Insurance
4. The most we will pay for “loss” in any one “ac--

cident" is the jesser oft

a. The actual cash value of the damaged or
stolen property as of the time of the Yoss"
or

b. The cost of repairing or replacing the dam-
aged or stolen property with other property
of tke kind and quality,

2 An adjustment for depreciation and physical
condition will be made in determining actual
cash value in the event of a total "loss",

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4. Appraisal For Physical Damage Loss

i you and we disagree on the amount of “loss”,
elther may demand an appraisal of the “joss”.
in this event, each party will select a competent
appraiser. The two appraisers will select a
competent and impartial umpire. The apprals-
ers will state separately the actual cash value
and amount of “loss”. If they fall ta agree, they
will submit their differences to the umpire. A
decision agreed to by any two will be binding,
Each party wilt
a Pay its chosen appraiser, and
b. Bear the other expenses of the appraisal
and umpire equally.
If we submit to an appraisal, we will still retain
our right to deny the claim.

2. Dutles In The Event Of Accident, Claim, Sult
Or Loss

We have no duty to provide coverage under
this policy unless there has been full compli-
ance with the following duties:

a, In the event of "accident", claim, "suit" or
"loss", you must give us or our authorized
representative prompt notice of the “acci-
dent” or “loss”. Include:

(1) How, when and where the “accident” or
"loss" occurred;

(2} The “insured’s” name and address; and

(3) To the extent possibie, the names and

addresses of any injured persons and
witnesses.
b, Additionally, you and any other involved
“insured” must
(1) Assume no obligation, make no payment
of incur no expense without our consent,
except at the “insured's" own cost

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(2) Immediately send us copies of any re-
quest, demand, order, notice, summons
or legal paper received concerning the
claim or “suit”.

(3) Cooperate with us in the vestigation or
settement of the claim or defense
against the "suit".

(4) Authorize us lo obtain medical records
or other pertinent information.

(5) Submit to examination, at our expense,
by physicians of our choice, as often as
we reasonably require.

g, If there is "loss" to @ covered “auto” or its
equipment you must also do the following:

(1) Promptly notify the police if the covered
*auto” of any of its equiprnent ts stolen.

{2) Take all reasonable steps to protect the
covered “auto” from further damage,
Also keep a record of your expenses for
consideration in the settlement of the
claim.

(3) Permit us to inspect the covered "auto"
and records proving the "toss" before its
repair or disposition,

(4) Agree to examinations under oath at our
request and give us a signed statement
of your answers.

"3, Legal Action Against Us

No one may bring a legal action against us un-
der this Coverage Form untik

a. There has been full compliance with all the
terms of this Coverage Form; and

b. Under Liability Coverage, we agree in writ-
ing thal the "insured" has an obligation to
pay or until the amount ofthat obligation
has finally been determined by judgment al-
ter trial, No one has the right under this pal-
jcy to bring us into an action to defermine

_ the "insured's" liability,

4, Loss Payment Physical Damage

Coverages

At our option we may:

a. Pay for, repair or replace damaged or sto-
jen property;

b. Return the stolen property, at our expense.
We will pay for any damage that results to
the "auto" from the theft; or

* ISO Properties, Inc,, 2005

6, Take all or any part of the damaged or sio-
len property at an agreed or appraised
value.

If we pay for the "loss", our payment will In-
clude the applicable sales tax for the damaged
or Stolen property,

5, Transfer Of Rights Of Recovery Against

Others To Us

If arry person or organization to or for whom we
make payment under this Coverage Form has
rights to recover damages from another, those
fights are transferred to us. That person or or-
ganization must do everything necessary to
Secure our rights and must do nothing after
"accident™ or “loss” to impair them.

B. General Conditions
1, Bankruptcy

Bankruptcy or insolvency of the “insured” or the
"Insured's” estate will not relieve us of any obfi-
gations under this Coverage Form.

Concealment, Misrepresentation Or Fraud

This Coverage Form is vold in any case of
fraud by you at any time as it relates to this
Coverage Form. It is also void if you or any
other “Insured”, at any time, intentionally con-
ceal or misrepresent a material fact concern-
ing:

a, This Coverage Form;

b. The covered "auto";

c. Your interest in the covered “auto”; or

d. A claim under this Coverage Form.

. Liberalization

if we revise this Coverage Form to provide
more coverage without additional premium
charge, your policy will automatically provide
the additional coverage as of the day the revi-
sion is effective in your state.

. No Benefit To Ballee Physical Damage

Coverages

We will not recognize any assignment or grant
any coverage for the benefit of any person or
arganization holding, storing or transporting
property for a fee regardless of any other pro-
vision of this Coverage Form.

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§. Other Insurance

a. For any covered “aute” you own, this Cov-
erage Form provides primary insurance, For
any covered “auto” you don't own, the in-
surance provided by this Coverage Form is
excess over any other collectible insurance.
However, while a covered "auto" which Is a
“raller" is connected to another vehicle, the
Liability Coverage this Coverage Form pro-
vides for the “trailer” Is:

(1) Excess while it is connected to a motor
vehicle you do not own,

(2) Primary while it is connected to a cav-
ered "auto" you own.

b. For Hired Auto Physical Damage Coverage,
any covered “auto” you lease, hire, rent or
borrow is deemed ta be a covered “auto”
you own. However, any “avto" that is
‘leased, hired, rented or borrowed with ‘a
driver is not a covered “auto”.

c. Regardless of the provisions of Paragraph
a, above, this Coverage Form's Liability
Coverage is primary for any Siability as-
sumed under an “insured contract”.

d. When this Coverage Form and any other
Coverage Form or policy covers on the
same basis, either excess or primary, we
will pay only our share. Our share is the
proportion that the Limit of Insurance of aur
Coverage Form bears to the total of the lim-
its of ail the Coverage Forms and policies
covering on the same basis.

6. Premium Audit

a, The estimated premium for this Coverage
Fomn is based on the exposures you told us
you would have when this policy began, We
will compute the final premium due when
we determine your actual exposures, The
estimated total premium will be credited

’ against the final premium due and the first
Named Insured will be billed for the bal-
ance, if any. The due date for the final pre-

7. Policy Period, Coverage Territory

Under this Coverage Form, we cover “acci-
dents” and "losses" occurring:

a. During the policy period shown in the Dec-
larations; and

b, Within the coverage territory,
The coverage teritory is:
a. The United States of America;

b. The territories and possessions of the
United States of America;

6. Puerto Rica;
d, Canada; and
e, Anywhere in the world if:

(1) A covered “auto” of the private passen-
ger type is leased, hired, rented or bor-
rowed without a driver for a period of 30
days or Jess; and

(2) The "insured's" responsiblity ta pay
damages is determined in a “suit” on the
merits, in the United States of America,
the territories and possessions of the
United States of America, Puerta Rica,
or Canada or in a settement we agree
to. :

We also cover “loss” to, or “accidents” invaly-
jing, a covered “auto” while being transported
between any of these places.

. Two Or More Coverage Forms Or Policies

Issued By Us

Hf this Coverage Form and any other Coverage
Farm or policy issued to you by us or any com-
pany affiliated with us apply to the same “accl-
dent", the aggregate maximum Limit of insur-
ance under all the Coverage Forms or policies
shall not exceed the highest applicable Limit of
Insurance under any one Coverage Form or
policy. This condition does not apply to any
Coverage Form or poficy issued by us or an al-
fifated company specifically to apply 2s excess
insurance over this Coverage Form.

mium or retrospective premium is the date
shown as the due date on the bill. If the es-
timated total premium exceeds the final
premium due, the first Named Insured will
get a refund.

b, If this policy is issued for more than one
year, the premium for this Coverage Form
Wik be computed annually based on our
rates or premiums in effect at the beginning
of each year of the policy.

SECTION V -DEFINITIONS
A. “Accident” includes continuous or repeated expo-
sure to the same conditions resulting in "bodily in-
jury” or "property damage".
B. "Auto" means;
4. Aland motor vehicle, “trailer” or semitrailer de-
signed for tavel on public roads; or

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2. Any other land vehicle that is subject to a cam-
puisory of financial responsibility law or other
moter vehicle insurance Jaw where it is I+
censed or principally garaged.

However, “auto” dees not include "mobile equip-

ment".

. "Bodily injury" means bodily injury, sickness or

disease sustained by a person including death re-
sulting from afy of these.

"Covered pollution cost or expense” means any
cost or expense arising out of:

4. Any request, demand, order or statutory or
regujatory requirement that amy “insured” or
others test for, monitor, clean up, remove, con-
tain, treat, detoxify or neviralize, or in any way
respond to, or assess the effects of “pollut-
ants"; or

2. Any claim or "suit" by or on behall of a gov-
emmental authority for damages because of
testing for, monitoring, cleaning up, removing,
containing, treating, detoxifying or neutralizing,
or in any way responding to or assessing the
effects of "pollutants".

"Covered pollution cost or expense” does not in-
clude any cost or expense arising out of the actual,
alleged or threatened discharge, dispersal, seep-
age, migration, release or escape of “pollutants”:

a, That are, or that are contained in any prop-
erty that is:

(1} Being transported or towed by, handled,
or harkdled for movement Into, onto or
from the covered “auto”;

(2) Otherwise in the course of transit by or
on behalf of the "insured’;

(3) Being stored, disposed of, treaied or
processed fn or upon the covered "auto";

b, Before the "pollutants" or any property in
which the “pollutants” are contained are
moved from the place where they are ac-
cepted by the “insured” for movement into
or onto the covered "auto" or

c. After the "pollutants" or any property in
which the "pollutants" are contained are
moved from the covered “auto” to the place
where they are finally delivered, disposed of
or abandoned by the “insured”,

*|SO Properties, tnc., 2005

Paragraph a, above does not apply to fuels, Iu

bricants, fluids, exhaust gases or other similar
"pollutants" that are needed for or result from
the normal electrical, hydraulic or mechanical
functioning of the covered "auto" or Its parts, ift

(1) The *pollutants” escape, seep, migrate,
or are discharged, dispersad or rejeased
directly fram an “auto” part designed by
its manufacturer to hold, store, receive
or dispose of such "pollutants", and

(2) The "bodily injury”, “property damage” or
“covered pollution cost or expense"
does not afise oul of the operation of

any equipment listed in Paragraph 6.b. .

or §.c. of the definition of “mobile
equipment”.
Paragraphs b. and co, above do not apply to
“accidents” that occur away from premises
owned by or renied to an “Insured” with respect
to “pollutants” not in or upon a covered “auto”
if:

(1) The "pollutants" or any property in which
the "pollutants" are contained are upset,
overtumed or damaged as a result of the
maintenance or use of a covered "auto":
and

(2) The discharge, dispersal, seepage, mi-
gration, release or escape of the “pollut-
ants” is caused directly by such upset,
overtum or damage.

"Diminution in value" means the actual or per

ceived loss in market value or resale value which
results from a direct and accidental “loss”.

. “Employee” includes a “leased worker", “Em-

ployee" does not include a "temporary worker’,

. “Insured” means any person or organization quali-

fying as an insured in the Who Is An Insured pro-
vision of the applicable coverage. Except with re-
spect to the Limit of Insurance, the coverage af-
forded applies separately to each insured wha is
seeking coverage or against whom a cigim or
*suit™ is brought.

| "itsured contract” means:

1. A lease of premises;
2. Asidetrack agreement,

3, Any easement or ficense agreement, except in
connection with construction or demolition op-
erations on or within 50 feet of a railroad;

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4. An obligation, as required by ordinance, to in-
demnify a municipality, except in connection
with work for a municipality;

§, That part of any other contratt or agreement
pertaining to your business (including an in

demnification of a municipality in connection ©

with work performed for a municipality) under
which you assume the tort Hability of another to
pay for *bodily injury" or "property damage” to a
third party or organization, Tort liability means
a Ulability that woyld be imposed by faw In the
absence of any contract or agreement;

6. That part of any contract or agreement entered
into, as part of your business, pertaining to the
rental or jease, by you or any of your "employ-
ees", of any “auto”, However, such contract of
agreement shall not be considered an “insured

contract’ to the extent that it obligates you or -

any of your "employees" to pay for "property
damage" to any "auto" rented or leased by you
or any of your "employees",
An “insured contract" does not include that part of
any contract or agreement

a. That indermifies a railroad for "bodily injury"
or “property damage” arising out of con-
struction or demolition operations, within 50
feet of any rallroad property and affecting
any railroad bridge or teste, tracks, road-
beds, tunnel, underpass or crossing; or

b. That pertains to the Joan, lease or rental of
an "auto" to you or any of your "employses',
if the “auto" is joaned, leased or rented with
a driver; or

c. That holds a person or organization en-.

gaged in the business of transporting prop-

erty by "auto" for hire harmless for your use

of a covered "auto" over a route or territory
that person or organization is authorized to
serve by public authority.

_ "Leased worker” means a person leased to you by
a Jabor leasing firm under an agreement between
you and the labor leasing firm, to perform duties
Telated to the conduct of your business. "Leased
worker" does not include a "temporary worker”.

. "Loss" means direct and accidental Joss or dam-

age,

"Mabile equipment” means any of the following

types of land vehicles, including any attached ma-

chinery or equipment:

4. Bulldozers, farm machinery, forklifts and other
vehicles designed for use principally off public
roads;

2 Vehicles maintained for use solely on or Text to
premises you own or rent;

*'SO Properties, Inc., 2005

8, Vehicles that travel! on crawler treads;

4. Vehicles, whether self-propelled or not, main-
tained primarily to provide mobility tn perma-
nently mounted;

a. Power cranes, shovels, loaders, diggers or
drills; or

b. Road construction or resurfacing equipment
such as gradefs, scrapers or rollers,

5, Vehicles not described in Paragraph 1., 2, 3.,
or 4, above that are not self-propelled and are’
maintained primarily to provide mobility to per-
manently attached equipment of the following
types:

a. Alr compressors, pumps and generators,
including spraying, welding, building clean-
ing, geaphysical exploration, lighting and
well servicing equipment; or

b. Cherry pickers and similar devices used to
raise or lower workers.

6. Vehicles not described in Paragraph 1., 2, 3.
or 4, above maintained primarily far purposes
other than the transportation of persons or
cargo, However, self-propelled vehicles with
the following types of permanently attached
equipment are not “mobile equipment” but will
be considered "autos":

a. Equipment designed primarily for:
(1) Snow removal;

(2) Road maintenance, but not construciion
or resurfacing; or ,

(3) Street cleaning;

b. Cherry pickers and similar devices mounted
on automobile or duck chassis and used to
raise or lower workers; and

c, Air compressors, pumps and generators,
including spraying, welding, building clean-
ing, geaphysical exploration, fighting or well
servicing equipment.

However, "mobile equipment" does not include
jand vehicles that are subject to a compulsory or
financia] responsibility law or other motor vehicle
instance law where It Is ficensed or principally ga-
raged, Land vehicles subject to a compulsory or fi-
nancial responsibility law or other motor vehicle
Insurance jaw are considered “autas”.

"Pofiutants” means ary solid, Tiquid, gaseous or
thermal irritant or contaminant, including smoke,
vapor, soot, fumes, acids, alkalis, chemicals and
waste, Waste includes materials to be recycled,
reconditioned or reclaimed.

. "Property damage” means damage to or joss of

use of tangible property.

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N. °Suit™ means a civil proceeding in which: b. Any other aliemative dispute resolution pro-
ceeding in which such damages or “covered

1. oy dona because of “bodily injury” oF "prope poliution costs of expenses” are claimed
aa , and ta which the insured submits with our

2. A*covered poflution cost or expense, consent.

to which this insurance applies, are alleged. O. "Temporary worker” means a person who is fur-

"Suit” includes: nished to you to substitute for a permanent "em-

a. An arbitration proceeding in which such ployee” on leave or to meet seasonal or short-term

damages or “covered pollution costs or ex- workload conditions,
penses” are claimed and to which the "in- P. “Trailer” includes semitrailer.
sured” must submit of does submit with our

consent; or

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COMMERCIAL AUTO
CA 07 20 06 03

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
ILLINOIS CHANGES

For 4 covered “auto” ficensed or principally garaged in, or “garage operations” conducted in, Illinois, this endorse-
ment modifies insurance provided under the fallowing:

BUSINESS AUTO COVERAGE FORM

BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIER COVERAGE FORM

TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless medi-
fied by the endorsement.

A. Changes In Liability Coverage 2. The deductions are for prior wear and tear,

4. Paragraph 1.b.(3) of the Whe Is An Insured
provision in the Business Auto, Motor Carrier
and Truckers Coverage Forms and Para-
graph 3,a.(2){(c) of the Who Is An Insured
provision in the Garage Coverage Form do
not apply.

2 Our Limit Of Insurance applies except that
we will apply the limit shown in the Declara-
tions to first provide the separate mits re-
quired by the IMfinois Safety Responsibility Law
as follows: ‘

@. $20,000 for “bodily injury" ta any one per-
son caused by any one “accident”,

b. $40,000 for “bodily injury" to two or more
persons caused by any one “accident”,

CG.

missing parts and rust damage that is reflec-
tive of the general overall condition of the ve-
hicle considering its age. in this event, deduc-
tions may not exceed $500,

Changes In Conditions

The Other Insurance Condition in the Business
Auto Coverage Form, and the Other Insurance —
Primary And Excess Insurance Provisions in
the Truckers and Motor Carriers Coverage
Forms, is changed by the addition of the follow-
ing:

Liability Coverage provided by this Coverage
Form for any “auto” you do not own is primary if

1. The “auto" js owned or held for sale or lease
by a new or used vehicle dealership;

and 2, The “avlo” is operated by an “insured” with
c. $15,000 for "property damage” caused by the permission of the dealership described in
any one “accident’, Paragraph 1. while your "auto" is being re-
This provision will not change our total Limit paired or evaluated; and
OF Insurance. 3, The Limit of Insurance for Liability Coverage

B. Changes In Physical Damage Coverage

The Limit Of Insurance provision with respect to
repair or replacement resulting in better than like
kind or quafity is replaced by the following, and
supersedes amy provision to the contrary:

under this policy is at jeast:

a. $100,000 for "bodily injury” to any one per-
son caused by any one "accident",

b. $300,000 for "bodily injury” to two or more
persons caused by any ohne “accident",

We may deduct for betterment if: and
4. The deductions reflect a measurable de- G $50,000 for "property darnage” caused by
crease in market value attributable to the any one “accident”,

poorer condition of, or prior damage fo, the
vehicle.

CA 04 20 06 03

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COMMERCIAL AUTO
CA 0270 08 54

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

ILLINOIS CHANGES —
CANCELLATION AND NONRENEWAL

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM

BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM

GARAGE COVERAGE FORM
MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless

Modified by the endorsement

A. The CANCELLATION COMMON POLICY
Condition is replaced by the folowing:

CANCELLATION

a The first Named Insured shown jn the
Declarations may cancel this policy by mailing
us advance written notice of cancellation,

b. When this policy is in effect 61 days or more or
is a renewal or continuation policy, we may
cancel only for one or more of the following
reasons by mailing you written notice of
cancelation stating the reasons for
cancellation.

(1} Nonpayment of premium.

{2) The policy was obtained through a material
misrepresentation.

(3) Any "Insured" has viclated any of the terms
and conditions of the policy.

(4) The risk originally accepted has measurably
increased.

{5) Certification to the Director of Insurance of
the joss of reinsurance by the insurer which
provided coverage to us for all or a
substantial part of the underlying risk
insured.

(B} A determination by the Director of Insurance
that the continuation of the policy could
place us in violation of the llimois insurance
Jaws,

, [F we cancel for nonpayment of premium, we

will mal you at least 10 days writer notice,

. If this policy ts cancelled for other than

nonpayment of premium and the policy is in

effect:

(1} 60 days or less, we will mail you at least 30
days written notice.

(2) 61 days or more, we wil mail you at least 60
days written notice. .

. If this policy is cancelled, we will send you any

premium refund due. if we cancel, the refund
wil be pro rata. Hf you cancel, the refund may
be Jess than pro rata. The cancellation will be
effective even if we have not made or offered a
refund.

The effective date of cancellation stated in the

notice shall become the end of the policy
period,

, Our notice of cancellation will state the reason

for cancellation.

. Acopy of the notice will also be sent fo your

agent or broker and the joss payee.

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B. The following is added and supersedes any if we fail to mail proper written notice of

provision ic the contrary: nonrenewal and you obtain other insurance, this
NONRENEWAL policy will end on the effective date of that

insurance.

If we decide not to renew or continue this policy, C. MAILING OF NOTICES

we will mail you, your agent or broker and the loss

payee written! notice, stating the reason for We will mall cancellation and nanrenewal notices
nonrenewal, at least 60 days before the end of the to the last addresses known to us, Proof of
policy period. If we offer to renew oF continue and mailing wil be sufficient proof of natice.

you do not accept, this policy will terminate at the
end of the current policy period. Failure to pay the
required renewal or continuation premium when
due shall mean thal you have not accepted our
offer.

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can 86601935 - 12 oi /os/15 asc 01/25/13
POLICY NUMBER: COMMERCIAL AUTO
GAA 6601935-i1 cA 20 01 03 O06
TERIS ENDORSEMENT CHANGES HE POLICY. PLEASE READ I’ CAREFULLY.
LESSOR - ADDITIONAL INSURED AND LOSS PAYEE

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM

BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIER COVERAGE FORM

TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage
Form apply tnless modified by the endorsement.

This endorsement changes the policy effective on the inception date of the policy
uniess another date is indicated below.

 

Named Insured: JAROSLAVAS BIELIAUSKAS
Budoxrsement Effective Date: 01/01/2013

 

Counbersignatuce Of Authorized Representative

 

Name:
Title:
Signature:
Date:

 

SCHEDULE

 

tnsurance Company! StarNet Insurance Company
Policy Number: CBA 6601935-11 | Effective Date: 01/01/2013

 

 

Expiration Date: 01/01/2014

Named ineured and Address: JAROSLAVAS BIELIAUSKAS
326 W. IVY LN
ARLINGTON HEIGHTS, IL 60004

 

 

 

Bdditional Insured (Lessor) and Address:

1, 5.0.5 ‘ 3. KRAFT FOODS SLOBAL INC
TAXI & LIVERY DEPT | 3 LAKES DRIVE
F401 N,. ELSTON 5T NORTHFIELD, IL 60053

CHICAGO, Ib 60630

2, 303 TAxT LLC
5200 K. OTTO
CEICAGO, IL 60656

 

Desiguation Gr Description of "Leased Autas";

Any vehicle leased, rented or borrowed by the Named Insured.

 

 

 

CB 20 01 03 06 Cepyright - I50 Properties, Inc., 2005 Page 1 of 2
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CAA 6601935 = 11 01/01/13 &S¢ 01/25/13
Coveragea Limit of Insurance

Liability $ Each "Accident”™

Comprehensive Actual Cash Value Or Cost Of Repaix Whichever Is Less, Minus
3 Deductible For Each Covered "Leased Auto*

Collision Actual Cash Value Or Cost Of Repaiz Whichever Is Less, Minus
§ Deductible For Bach Covered "Leased Auto”

Specified Actual Cash Value Or Cost Of Repaiz Whichever Is Less, Minus

Causes Of Loss . § Deductible For Each Covered "Leased Anto"

 

 

 

Information required to complete this Schedule, if not shown above, will be shown
in the Declarations.

 

 

A.

Coverage

1. Any "leased auto" designated or described in the Schedule will be considered a
covered “auto” you own and not a covered "aute" you hire or borrow,

2. Por a "leased aute" designated or described in the Schedule, Who Is An Insured
is changed to include as an "insured" the lessor named in the Scheduie.
However, the lessor is an “insured” only for "bodily injury" or "property
damage” resulting from the acts or omissions by: .

a. You;
bh. Any of your “employees” or agents; of

co, Any person, except the lessor or any “employee” cr agent of the lessor,
operating a "leased auto" with the permission of any of the abcve.

3, The coverages provided under this endorsement apply to any “leased auto"
described in the Schedule mntil the expiration date shown in the Schedule, or
when the lessor or his or her agent takes possession of the "leased auto",
whichever occurs first.

Loss Payable Clause

1. We will pay, as interest may appear, you and the lessor named in this
endorsement for, "loss" to a "leased auto",

2. The insurance covers the interest of the lessor pwnless the “loss” results from
-fraudulent acts or omissions on your part.

3. If we make any payment to the lessor, we will obtain hie or her rights against
any other party.

Cancellation

i. If we cancel the policy, we will mail notice to the lessor in accordance with
the Cancellation Common Policy Condition.

2, If you cancel the policy, we will mail notice to the lessor.

3. Cancellation ends this agreement.

The lessor is not liable for payment of your premiums,

Additional Definition

As used in this endorsement:

"Leased auto” means an "auto" leased or rented to you, including any substitute,
replacement or extra “auto” needed to meet seasonal or other needs, under a

leasing or rental agreement that requires you to provide direct primary insurance
for the lessor,

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CAR G6DL935 - 11 4/01/13 550 a1/25/13
ca 20 18 12 93
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
PROFESSIONAL SERVICES NOT COVERED

hig endersement modifies insurance provided under the follewing:
BUSINESS AUTO COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage
Form apply unless modified by the endorsement.

LIABILITY COVERAGE is ohanged hy adding the following exclusions:
This insurance does not apply to:

1, "Bodily injury" resulting from the providing or the failure to provide any
medical or other professional services.

2. “Bodily injury” resulting from food oz drink furnished with these services,
4, "Bodily injury" or "property damage” resulting from the handling of corpses.

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CA 21 30 11 08
THIS ENDORSEMENT CHANGES THM POLICY. PLEASE READ IT CAREFULLY.
ILLINOTS UNINSURED MOTORISTS COVERAGE

For a covered "auto" licensed or principally garaged in, or "garage operations”
conducted in Illinois, this endorsement modifies insurance provided under the fol-
lewing:

BUSINESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage
Form apply unlass modified by the endorsement.

This endorsement changes the olicy effective on the inception date of the policy
unless another date is indicated below.

Named Insured: JAROSLAVAS BIELIAUSKAS

Endorsement Effective Date: 01/01/2013
SCHEDULE

Limit Of Insurance §& 49,006 ; Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in
the Declarations.

A. Coverage

1. We will pay all sums the “insured” is legally entitled to recover as
compensatory damages from the owner or driver of an “uninsured motor vehicle”.
The damages must result from “bodily injury" sustained by the "insured" caused

by an "accident". The owner's or driver's liability for theae damages mist
result from the ownership, maintenance or use of the "uninsured motor
vehicle",

2. Any judgment for damages arising out of a *euit” brought without our written
consent is not binding on us.

BB. Who Is An Insured
T£ the Named Insured is designated in the Declarations as:
1. An individual, then the following are "insureds":
a. The Named Insured and any "family members”.

b, Anyone else “occupying” a covered "anto” or a temporary substitute for a
covered "auto". The covered "auto? must be out of service because of its
breakdown, repair, servicing, “loss" or destruction.

c. Anyone else "occupying" an "auto" you de not awn who is an "insured™ for
Idability under the Goverage Form, but only at times when that person is an
"insured" for Liability under the Coverage Form.

d. Anyone for damages he or she is entitled to recover becanse af "bodily
injury" ‘sustained by another "insured", .

2. AR partnership, limited liability company, corporation or any other form of
organization, then the following are “insureds”:

a. Anyone “occupying” a covered “auto" or a temporary substitute for a covered
“auto, The covered “ante” mst be ont of service because of its
breakdown, repair, servicing, “loss” or destruction.

b. Anyone else “occupying™ an "aute" you do not own who is an “insured” for
Liability under the Coverage Form, but only at times when that person ia an
"insured" for Liability under the Coverage Form.

c, Anyone for damages he or she is entitled to recever because of “bodily
injury" sustained by angther "insured™.
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Cc, Exclusions
This insurance does not apply to any of the following:
1. Any claim settled without our consent,

2. The @trect or indirect benefit of any insurer or self-insurer under any
workers’ compensation, disability benefits or similar law.

3, "Bodily injury” sustained by:

a, An individual Named Insured while "oecupying” oz when struck by any vehicle
owned by ‘that Named Insured that is not a soverad "saute" for Uninsured
Motorists Coverage under this Coverage Form;

b. Any "family member" while roccupying’ or when struck by any vehicle owned
oy thet "Family member” that is mot a covered “auto” for Uninsured
Motorists Coverage under this Coverage Form; or

c. Any "family member" while “Yocoupying™ ox when struck by any vehicle owned
by the Named Insured that is insured for Uninsured Motorists Coverage on a
primary basis under any other Coverage Form or policy.

4, Anyone using a vehicle without a reasonable belief that the person is entitled
to do so.

5. Punitive or exemplary damages.
6. "Bodily injury” arising directly or indirectly out of:
a. War, imcluding undeclared or civil war}

b. Warlike action by a military foree, including action in hindering or
defending against an actual of expected attack, by any government,
sovereign or other authority using military personnel or other agents; or

ae. Insurrection, rebellion, revolution, usurped power, or action taken by
governmental authority in hindering or defending against any of these.

Db. Limit Of Inaurance

1, Regardless of the number of eoverad "antes", "insureds*, premiums paid, claims
made or vehicles involved in the "accident", the most we will pay fer all
damages resulting from any one Naccident™ is the Limit of Tneurance for
Uninsured Motorists Insurance shown in the Schedule or Declarations,

We will apply the limit shown in the Declarations to first provide the
separate limits requixed by the Tilinois Safety Responsibility Law as follows:

a. £20, 000 for “bodily injury" to any one person caused by any one "accident";
an

b, $40,000 for "bodily injury™ to two or more persons caused by any one
“aacident".

This provision will not change cur total limit of liability.

2, No one will be entitled to receive duplicate payments for the same elements of
“loss" under this Coverage Form and any Liability Coverage Ferm, Medical
Payments Coverage Endorsement or nderinsured Motorists Coverage Endorsement
attached to this Coverage Part.

We will not make a duplicate payment under thia Coverage for any element of
"loss" far which payment has een made by or for anyone who is legally
responsible.

We will not pay for any element af "loss" if a person is entitled to receive
payment for the same element of “loss” under any workers! compensation,
disability benefits or similar law.

E, Changes In Conditions
The Conditions are changed for Uninsured Motorists Insurance Coverage as follows:
1. Other Insurance in the Business Auto and Garage Coverage Forms and Other
Tnenrance - Primary And Excesa Insyrance Provisions in the Truckers and Motor
Carrier Coverage Forms are replaced by the following:
‘tf there is other applicable insurance available under ona or more policias or

provisions of coverage:
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a. the maximum recovery under ali coverage forms or policies combined may
equal bet not exceed the highest appliceble limit for any one vehicle under
any coverage form or policy providing coverage on either a primary or
excess basis.

b, Any insurance we provide with respect to a vehicle the Named Insured does
not own shall be excess over any other coliectible uninsured motorists
insurance providing coverage on a primary basis.

ae. L£ the coverage under this Coverage Form is provided:

(1) On a primary basis, we will pay only our share of the loss that must be
aid under insurance providing coverage on a primary basis. Our share
is the proportion that our limit of Liability bears to the total of all
applicable limits of liability for coverage on a primary basis.

(2) On an extess basis, we will pay only cur share of the loss that must be
aid under insurance providing coverage om an excess basis. Our share
is the proportion that our limit of liability bears to the total of all
applicable limita of liability for coverage on an excess basis,

2. Duties In The Event Of Accident, Claim, Suit Or Loss is changed by adding the
following:

a. Promptly notify the police if a hit-and-run driver is invoived; and
b. Promptiy send us copies of the legal papers if a "suit" ds brought.
3. Legal Action Against Us is replaced by the following:

a. No one may bring a leyal action against us under this Coverage Form until
there has been fnll compliance with ail the terms of this Coverage Form.

bb. Any legal action against us must be brought within two years after the date
of the "accident". However, this Paragraph 3,b, does not apply to an
"§nsured" if, within two years after the date of the "accident”,
avbitration proceedings have commenced in accordance with the provisions of
this Coverage Form.

Transfer Of Rights Of Recovery Against Others To Us does not apply.
5. The following Conditions are added:
REIMBURSEMENT AND TRUST

Tf we make any payment and the “insured” recovers from another party, the
"Spsured" shall hold the proceeds in trust for us and pay us back the amount
we have paid.

ARBITRATION

a. If we and an "insured" disagree whether the "insured" is legally entitled
to recover damages from the owner or driver of an “uninsured motor vehicle"
or do pot agree as to the amount of damages; then the disagreement will he
arbitrated, Tf the "insured" requests, we and the "insured" will each
select an arbitrator., The two arbitrators will select a third, If the
arbitrators are not selected within 45 days of the "insured’s” request,
either party may wvequest that arbitration be submitted to the American
Arbitration Association, We will bear all the expenses of the arbitration
except when the "insured's" recovery exceeds the minim limit specified in
the Illinois Safety Responsibility Law. :

It this occurs, the “insured™ will be responsible for payment of his ox her
expenses and an equal share of the expenses of the third arbitrator up te
the amount by which the "insured's" recovery exceeds the statutory minimum,

hb, Uniess both parties agree otherwise, arbitration will take place in the
county in which the "instred" lives.

eo. Tf arbitration is submitted to the American Arbitration Association, then
the American Arbitration Association roles shail apply to all matters
except medical opinions. As to medical opinions, if the amount of damages
being sought:

(1) Is equal to or less than the minimum limit for bodily injury liability
specified by the Illinois Safety Responsibility Law, then the American
Arbitration Association rules shall apply.

{2} Exceeds the minimum limit for bodily injury liability specified by the
Illinois Safety Responsibility Law, then xcules of evidence that apply
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in is cirenit court for placing medical opinions inte evidence shall
apply.

In all other arbitration proceedings, local rules of law as to
arbitration procedure and evidence will apply.

d. If ‘the arbitration involves three arbitrators, 2 decision agreed to by two
‘Of the arbitrators will be binding for the amount of damages not exceeding
the lesser of either.

{1} $50,000 for. “bodily injury" to any one person/$100,00 for “bodily
injury” to two or more persons caused by any one *accident"; or

(2) The Limit Of Uninsured Moteriste Insnrance shown in the Schednie or
Declarations.

F, Bdditionel Definitions

As used in this endorsement:

1. "Family member" means a person related to an individual Nemead Insured by
bleod, marriage or adoption who is a resident of such Named Insured‘ s
household, including a ward or foster ehild.

2. “Occupying” means in, upon, getting in, om, out or off.

"Oninsured motor vehicle” means a land motor yehicle or "trailer":

a, For which ne liability bond or policy at the time of an "acaldent” provides
at least the amounts required by the applicable law where @ covered "auto™
ig principally garaged; or

%. For which an insuring or bonding company denies coverage or is or becomes
insolvent; or

ec. That is a hit-and-ron vehicle and neither the driver nor owner can be
identified. The vehicle must hit, or cause an ebject to hit, an "insured",
a covered "auto" or a vehicle an "insured" is “occupying™, If there is no
physical contact with the hit-and-run vehicle, the facts of the "accident"
must be proved.

However, "uninsured motor vehicle" does not include any vehicle:

a. Owned or operated by a self-insurer under any applicable motor vehicie law,
except a self-insurer who is ox becomes insolvent and cannot provide the
amounts requixed by that motor vehicle law;

bb, Owned by a governmental unit or agency; o*

c. Designed for use mainly off public roads while not on public roads.

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COMMERCIAL AUTO
CA 23 84 01 06

THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ IT CAREFULLY.
EXCLUSION OF TERRORISM

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM

BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM

GARAGE COVERAGE FORM
MOTOR CARRIER COVERAGE FORM

SINGLE INTEREST AUTOMOBILE PHYSICAL DAMAGE INSURANCE PCLICY

TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorse-
ment, the provisions of the Coverage Form apply
unless modified by the endorsement
A. The following definitions are added and apply
under this endorsement wherever the term terror-
ism, or the phrase any injury, damage, loss or ex-
pense, are enclosed in quotation marks!
4, "Terrorism means activities against persons,
organizations or property of any nature:

a. That involve the following or preparation for
the following:
(4) Use or threat of force or violence; or

(2) Commission or threat of a dangerous
act or

(3} Commission or threat of an act that
interferes with or disrupts an electronic,
communication, information, or me-
chanical system; and

b. When one or both of the following applies:

(1) The effect is to intimidate or coerce a
government or the civilian population or
any segment thereof, or to disrupt any
segment of the economy; or

(2) It appears that the intent is to intimidate
or coerce a government, or to further po-
fitical, ideological, religious, social or
economic objectives or te express (or
express opposition to) a philosophy or
ideology.

CA 23 8401 06

*1S50 Properties, Inc., 2004

2 “Any injury, damage, joss or expense” means .
any injury, damage, loss of expense covered
under any Coverage Form or Policy to which
this endorsement is applicable, and includes
but Is not fimited to “bodily Injury", “property
damage", “personal injury", "personal and ad-
vertising injury", “ioss", loss of use, rental reim-
bursement after “loss” ar “covered pollution
cost or expense”, as may be defined under this
Coverage Form, Policy or any applicable en-
dorsement,

B, Except with respect to Physical Damage Cover-
age, Trailer Interchange Coverage, Garagekeep-
ers Coverage, Garagekeepers Coverage Cus-
tomers’ Sound Receiving Equipment or the Single
Interest Automobile Physical Damage Insurance
Policy, the following exclusion is added:

EXCLUSION OF TERRORISM

We will not pay for "any injury, damage, loss or
expense” caused directly or indirectly by “terror-
ism”, including action in hindering or defending
against an actual er expected incident of "terror-
ism*. “Any injury, damage, joss or expense” is ex-
cluded regardless of any other cause or event that
contributes concurrently or in any sequence to
such injury, damage, ioss or expense, But this
exclusion applies only when one cr more of
the following are attributed to an Incident of
"terrorism":

4. The “terrorism” is carried out by means of the
dispersal or application of radioactive material,
or through the use of a nuclear weapon or de-
vice that involves or produces a nuciear reac-
tion, nuclear radiation or radioactive cantami-
nation; or

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2. Radioactive material is released, and it ap-
pears that one purpose of the "terrorism™ was
to release such material; or

3. The "terrorism" fs cared cut by means of the
dispersal or application of pathogenic or pol
sonous biological or chemical materials; or

4. Pathogenic or poisenous biological or chemical
materials are released, and it appears that one
purpose of the “terrorism” was to release such
naterials; or

5. The total of insured damage to all types af
property exceeds $25,000,000, in determining
whether the $25,000,000 threshold is ex-
ceeded, we will in¢lude all insured damage
sustained by property of all persons and erit-
ties affected by the "terrorism" and business in
terruption losses sustained by owners or accu-
pants of the damaged property. For the
purpose of this provision, insured damage
means damage that is covered by any insur-
ance plus darnage that would be covered by
any insurance but for the application of any ter-
rorism exclusions; or

6. Fifty or more persons sustain death or serious
physical injury. For the purposes of this provi-
sion, serious physical injury means:

a. Physical injury that involves a substantial
risk of death; or

6b. Protracted and obvious physical disfigure-
ment; of

c, Protracted loss of or impaitmert of the
function of a bodily member or organ.

Muttiple Incidents of “terrerism? which occur within
a 72-hour period and appear to be carried out in
concert or to have a related purpose or common
leadership will be deemed to be one incident, for
the purpose of determining whether the thresholds
in Paragraphs B.5. and B.6, are exceeded,

With respect to this Exclusion, Paragraphs B.5.
and B.6. describe the thresholds used to measure
the magnitude of an incident of "terrorism" and the
circumstances in which the threshold will apply, for
the purpose of deternining whether this Exclusion
will apply to that ineklent, When the Exclusion ap-
ples to an incident of “terrorism”, there is no cov-
erage under this Coverage Form, Policy or any
applicable endorsement.

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€1S0 Properties, Inc, 2004

C. With respect to Physical Damage Coverage,

Trailer Interchange Coverage, Garagekeepers
Coverage, Garagekeepers Coverage Customers’
Sound Receiving Equipment or the Single interest
Automobile Physical Damage Insurance Policy,
the following exclusion is added:

. EXCLUSION OF TERRORISM

We will not pay for any “loss”, loss of use or rental
reimbursement after “lass” caused directly or indi-
rectly by “terrorism”, including action in hindering
or defending against an actual or expected inci
dent of "terrorism", But this exclusion appiles
only when one or more of the following are at-
tributed to an Incident of "terrorism":

4. The “terrorism” Is carried out by means of the
dispersal or application of radioactive material,
or through the use of a nuclear weapon or de-
viee that involves or produces a nuclear reac-
tion, quclear radiation of radioactive contami-
nation; or

2, Radioactive material is released, and it ap-
pears that one purpose of the “terrorism” was
to release such material: or

3. The “terrorism” is carried out by means of the
dispersal or application of pathogenic or poi-
sonous biological or chemical materials; or

4, Pathogenic or poisonous biological or chemical
materials are released, and it appears that one
plirpose of the "terrarism” was to release such
materials; or

5. The total of insured damage to all types of
property exceeds $25,000,000. In determining
whether the $25,009,000 threshold is ex-
ceeded, we will include all insured damage
sustained by property of all persons and enti-
ties affected by the “terrerism” and business in-
terruption losses sustained by owners or occu-
pamts of the damaged property, For the
purpose of this provision, insured damage
means damage that is covered by any insur-
ance plus damage that would be covered by
any insurance but for the application of any ter-
Torism exclusions,

Multiple incidents of “terrorism” which occur within
a 72-hour period and appear io be carried out in
concert or to have a related purpose or common
jeadership will be deemed to be one incident, for
the purpose of determining whether the threshold
in Paragraph 0,5, is exceeded,

CA 23 84 01 08

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With respect to this Exclusion, Paragraph C.5. de-
scribes the threshold used te measure the magni-
tude of an incident of “terrorism” and the circum-
stances in which the threshold will apply, for the
purpose of determining whether this Exclusion will
apply to that incident. When the Exclusion applies
to an incident of “terrorism”, there is no coverage
under this Coverage Form, Policy or any applica-
ble endorsement. ;

CA 23 84 01 05

£150 Properties, Inc., 2004

D. In the event of any incident of “terrorism” that is

not subject to the Exclusion in Paragraphs B. or
C., coverage dees not apply to "any injury, dam-
age, loss or expense” that is otherwise excluded
under this Coverage Form, Policy or any applica-
ble endorsement.

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COMMERGIAL AUTO
CA 23 94 03 06

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

SILICA OR SILICA-RELATED DUST EXCLUSION FOR
COVERED AUTOS EXPOSURE

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM
MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless medi-
fied by the endorsement

A. The following exclusion is added to Paragraph B. 3. Ary loss, cost or expense arising, in whole or

Excjusions of Section || Liability Coverage In
the Business Auto, Motor Carrier and Truckers
Coverage Forms and for "Garage Operations" —
Covered “Autos” in the Garage Coverage Form:

SILICA OR SILICA-RELATED DUST
EXCLUSION FOR COVERED AUTOS
EXPOSURE :

This insurance does not apply to:

4. "Bodily injury" arising, in whole or in part, out of
the actial, alleged, threatened or suspected tn-
halation of, or ingestion of, “siica” or "silica-
related dust”.

2. "Property damage" arising, in whole or in part,
out of the actual, alleged, threatened or sus-
pected contact with, exposure to, existence of,
or presence of, “silica" or “silica-related dust”,

CA 23 94 03 06

°1SO0 Properties, Inc., 2005

in part, out of the abating, testing for, monitor-
ing, cleaning up, removing, containing, treating,
detoxifying, neutralizing, remediating or dispos-
ing of, or In any way responding to or assess-
ing the effects of, “silica” or "silica-related
dust", by any “insured” or by any other person
or entity.

. Additional Definitions

As used in this endorsement:

1. "Silica" means siicon dioxide (occurring in
crystalline, amorphous and Impure forms), sit-
ica particles, silica dust or silica compounds.

2. “Silica-related dust" means a mixture or combi-
nation of silica and other dust or particles.

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ENDORSEMENT — EXCLUDING PUNITIVE, EXEMPLARY, OR MULTIPLIED
DAMAGES

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
BUSINESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM
MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM
SECTION {I Liabiity Coverage item B,, Exclusions The following exciusion is added:
EXCLUSION This insurance does not apply to:
4. Punitive, exemplary, or multiplied damages;
2. Sanctions, fines, or penalties imposed by common or statutory law;
3, Liquidated damages as provided under a contract or statute;
If a claim or sui tis made against any insured f or an acel dent se eking compensatory and puniive,
exemplary, or multiplied damages, we will defend the insured, However, we wil not pay for any
Supplementary Payments, or damages. attributable to punitive, exemplary ar multiplied damages.

This exclusion does not apply in any state where such provision Is expressty prohibited by state law or
regulation.

THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
POLICY IS WRITTEN,

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ENDORSEMENT -- PUBLIC AUTO COVERAGE AMENDMENTS
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIERS COVERAGE FORM
TRUCKERS COVERAGE FORM

A. SECTION |i Liability Coverage tem A, Coverage, Paragraph 1, Who Is An insured is entirely deleted and
replaced with the following:

1. Who is An Insured Thei nsureds f or any covered aute are:
a, The person(s) or organization(s) named in the Declarations; and

bh. Anyone Mable for the conduct of any? nsured deseri bed In paragraph a, above but only fo the extent of
that Hability. :

No other person or organization is an i nsured under this policy. However, other persons or organizations
may be named in the Declarations or by endorsement. These other persons or organizations will be
considered as other i nsured(s) under thi s Insurance,

B. SECTION |] ability Coverage Paragraph 2, Coverage Extensions item a, Supplementary Payments
subparagraph (5) is entirely deleted and replaced with the following:

(5) All costs taxed against the i nsuredi n any sui t agai nst the i nsured w e defend. However, these
payments do not include attorneys fees or attorneys expenses taxed against the i nsured.

C. SECTION IL Liability Coverage Paragraph B, Exclusions the following exclusions are added:

1.5 exual Misconduct; 5 exual Abuse, or Molestation Bodily injury, property damage , or cov ered
pofution cost or expense arising directly or indirectly out of any sexual misconduct, sexual abuse, or
molestation by any insured . j

2."Antmal(s)"  B odify injury , property damage , or cov ered pollution cost or expense arising out of
animals) at any premises, garage operati ons or in of on any covered auto of anyi sured.

However, wherever required by statute, we will exclude bodi ly injury , property damage , or cov ered
pollution cost or expense but only to the extent of any limits of insurance which are in excess over the
minimum required financial responsibility, minimum personal injury protection (or equivalent no-fault
coverage), of minimum compulsory limits of insurance within the state where the premises, garage
operations, or cov ered auto] s fcensed or principally garaged.

3. Passengers Acts 8 odify injury, property damage , cr cov ered pollution cost or expense caused by
the acts or omissions of a passenger in your publ ic auto busi ness,

4, Assault and /orBatiery 8 odify Injury, property damage, or cov ered pollution cost or expense
arising out of of alleged to arise out of assault and / or battery, including but not jimited to:

a. Verbal or non-verbal threats or arguments;
b, Physical contact with another person without their consent; or
&, Vehicuiar assauit or battery or the fear of or apprehension of vehicular assault or battery.
This exclusion applies even if the claims against any! nsured al Jege negligence or other wrongdoing in the
supervision, hiring, employment, training, discipline, or monitoring of em ployees or other persons by the
insured, ifthe accident which caused the Dodily injury, property damage , or cov ered pollution cost or
expense i nvolved any of the elements of assault and/or battery described m subparagraphs a, b, orc,
‘above.

5. Firearms 6B odify injury, property damage, cov ered pollution cost or expense, or] oss ari sing out of
the possession, display, of Use of a firearm by anyi nsured or passenger,

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ENDORSEMENT — PUBLIC AUTO COVERAGE AMENDMENTS

8. Use of a Covered uto'for S now Removal 8 odily injury, property damage, orcov ered pollution
cost of expense ati sing out of any snow removal activity. '

7.5 pollation of Property” Property damage | neluding the intentional alteration or destruction of a
document or other property by any] nsured.

D. SECTION Y Definitions The following definitions are added:

4, A nimai(s) includes any mammal, amphibian, reptile, insect, arachnid, bird, or five stock and includes but
is not limited to animals used to quard premises, autos, as w ell as animal pets regardiess of what person
or organization owns, harbors, controls, or possesses the animat(s),

2. Other I nsured(s) m ean persons or organizations which may be responsible far the conduct of any
i nsured but do not operate or own any covered atio. Other | nsuredts) i nelude, but are not limited to
governmental organizations which issue permits to operate publ ic auto(s), grantor{s) of franchise for
publ ic auto(s), and / or publ Ic auto di spatch organizations,

3. P ublic auto eans a taxicab, limousine, coach, omnibus, or similar auta I icensed by the state where the
publ ic auto i's principally garaged or used, for the purpase of transporting passengers and passenger s
personal effects to paints and places for a fee.

4, 5 exual misconduct means any type of actual, alleged, attempted, proposed, or threatened physical
touching, caressing, or sexual verbal or nonverbal suggestion by any insured to any other person, incluciing
but not fimited to aly other insured or any past, present, or potential passenger or family member or
relative of a passenger of any insured,

5, S poliation m éans:

a. The destruction, alteration, or mutilation of evidence especially by a party for whom the evidence is
damaging; or

b. Alteration or mutilation of an instrument by one who ts not a party to the instrument; or

c. Willful or intentional destruction of property.

THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
POLICY IS WRITTEN.

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ENDORSEMENT RISK PURCHASING GROUP ILLINOIS
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies Insurance provided under:

BUSINESS AUTO COVERAGE FORM
“This policy has been issued as part of the Foster Purchasing Group Association, an Iliinois Corporation.

THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
POLICY [S WRITTEN.

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POLICYHOLDER NOTICE — CLAIMS REPORTING
StarNet Insurance Company

A Berkley Company
. Please notify the Companys claims office by telephone of every acci dent or
loss immediately upon the occurrence.
Use the telephone number: 1-866-391-9675

Any delay in providing the Company with notice may jeopardize your claim rights.
Please send a written claim report using the forms attached as soon as
practicable by mail or by E-mail to:

York Risk Services Group, Inc.
2170 West State Road 434, Suite 494
Longwood, FL. 35779-5034 -
E-mail: 5356BerkleyTransport@yorkrsg.com

Policy#:
Named Insured: Tel:
Complete this farm in case of emergency and keep with the public auto.

StarNet Insurance Company
, A Berkley Company
Please notify the Companys claims office by telephone of every acci dent or
joss immediately upon the occurrence.
Use the telephone number: 1-866-391-9675

Any delay in providing the Company with notice may jeopardize your claim rights.
Please send a written claim report using the forms attached as soon as
practicable by mail or by E-mail to:

York Risk Services Group, Inc.
2170 West State Road 434, Suite 494
. Longwood, FL 35779-5034
E-mail: 5356BerkleyTransport@yorkrsg.com

Policy#:
Named Insured: Tel#:

Complete this form in case of emergency and keep with your policy form.

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IMPORTANT NOTICE — ILLINOIS

IMPORTANT NOTICE

This notice is to advise you that should any complaint arise regarding the insurance you may contact
any of the following organizations:

You may contact StarNet Insurance Company at their Home Office for information or to make a
complaint at

_475 Steamboat Road
Greenwich Connecticut 06830
or
clo Berkley Underwriting Partners, LLC Underwriting Manager
311 South Wacker Drive, Suite 3225
Chicago, Illinois 60606 Telephone: 312-368-1107 Facsimile: 312-583-1633

You may contact the Ilfinois Division of Insurance at:

Hinols Division of Insurance, Consumer Division or Public Services Section
Springfield, Wlinois 62767

Please be certain to retain this notice with the policy and other important papers relating to your
insurance.

THIS NOTICE DOES NOT MODIFY OR AMEND ANY OF CONDITIONS OF YOUR POLICY. THIS
NOTICE !S TO PROVIDE YOU WITH INFORMATION ONLY.

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CBA 6601935 ~ 1 o1/01/13 S5C 01/25/13
POLICY NUMBER; COMMERCTAL AUTO
CAR 6601935-11 CA 99 54 07 97
THIS MNDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
COVERED AUTO DESIGNATION SYMBOL

This endorsement modifies insurance provided under the following:
BUSINESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM
MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM
BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage
Form apply uniess modified by the endorsement.

This endorsement changes the policy effective on the inception date of the policy
unless another date is indicated below:

Endorsement effective: 01/01/2013
Named Insured: JARCSGLAVAS BIELIAUSKAS
Countersigned by:

 

fAuthorized Representative)

’ Section I - Covered Autos is amended by adding the following:

Item Two of the Declarations shows the “autos” that are covered "autos" for each of

your coverages. The following numerical symbols may be used (in addition to the
mumerical symbols described in the Coverage Form) to describe the “autos” that may be
covered “autos”, The entry of one of these symbols next to a coverage on the

Declarations will designate the only "autos" that ere covered "autos".

Symbol Deseription Of Cowered Auto Designation Symbols

 

For use with the Business Auto Coverage Form

ig = only “autos” under your operating authority, in service as of the effective
date of this policy which are listed on the Schedule attached te the policy
and which were at the time of the "accident" giving rise to the claim being
driven by a driver who is Jisted as an “insured” on the Schedule of
“Insured (s)" to the policy are covered. Ne coverage will apply to any "anto"
newly placed in service, after the policy begins, or for any substitute
"suto" until you report that “auto” to us, Coverage on any such "auto" newly
placed in service or used as a temporary substitute "auto" will only becoma
effective as of the date and time it is reported to us.

 

For use with the Garage Coverage’ Form

 

 

 

32 =
For use with the Truckers Coverage Form.
Sl =
52 =
For use with the Business Autc Physical Damage Coverage Form
7; =
For use with the Motor Carrier Coverage Form
72 =
73 =

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IL 00 03 G9 08

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
CALCULATION OF PREMIUM

This endorsement modifies insurance provided under the following:

CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
COMMERCIAL AUTOMOBILE COVERAGE PART

COMMERCIAL GENERAL LIABILITY COVERAGE PART

COMMERCIAL INLAND MARINE COVERAGE PART

COMMERCIAL PROPERTY COVERAGE PART

CRIME AND FIDELITY COVERAGE PART

EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
EQUIPMENT BREAKDOWN COVERAGE PART .

FARM COVERAGE PART

LIQUOR LIABILITY COVERAGE PART ‘
MEDICAL PROFESSIONAL LIABILITY COVERAGE PART

OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
POLLUTION LIABILITY COVERAGE PART

PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
RAILROAD PROTECTIVE LIABILITY COVERAGE PART

The following is added:

_ The premium shown in the Declarations was com-
puted based on rates In effect at the time the policy

was Issued, On each renewal, continuation, of anni-

versary of the effective date of this policy, we will

compute the premium in accordance with our rates

and rules then in effect.

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CAR 6601935 — il

01/02/13

ssc 01/25/13

IL 00 17 11 98

COMMON POLICY CONDITIONS

All Coverage Parts included in thts policy are subject to the following conditions.

A.

Cancellation

1, The first Named ‘Insured shown in
the Declarations may cancel this
policy by maiiing or delivering to
us advance written notice of can-
cellation,

2. We may cancel this policy by maii-
ing or delivering to the first
Named Insured written notice of
cancellation at least:

a. 10 days before the effective
date of cancellation if we can-

cel for nonpayment of premium;
oz

Bb. 30 days before the effective
date of aanceliation 1f we can-

cel for any other reason.

3. We will mail or deliver our notice

to the first Named Insured's last -

hailing address known to us.

4. Notice of cancellation will state
the effective date of cancellation.
he policy pericd will end on that

te.

5. IE this policy is cancelled, we
will send the first Named Insured
any premium refund due. If we
cancel, the refund will be pro
rata. If the first Named Insured
cancels, the refund may be less
than ro rata. The cancellation
will 6 effective even if we have
not made or offered a refund.

6. If notice is mailed, proof of
mailing will be anufficient proof of
notice.

Changes
This policy contains all the agree-—
ments between you and us concerning
the insurance afforded. The first
Bamed Insvred shown in the Declara-
tions is authorized to make changes in
the terms of this policy with our
consent. This policy's terms can be
amended or waived only by endorsement
issued by wus and made a part of thig
policy.

Examination O£ Your Books And Records
We may examine and audit your books
and récerds as they relate to this
policy at any time during the policy
period and wp to three years after-
ward.

Inspections And Surveys

1. We have the right to:

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F.

a. Make inspections and surveys at
any time;

b, Give you reports on the condi-
tions we find; and

e. Recommend changes.

2. We are not obligated to make any
inspections, surveys, reports or
recommendations and any such
actions we do undertake relate only
to insurability end the preminums to
be charged. We do not make safety
inspections. We do not undertake to
perform the duty of any person or
organization to provide fer the

health or safety of workers or the
lic. And we do net warrant that
conditions:

&. Are safe or healthful; or
b, Comply with laws, regulations,
codes or standards.

3. Paragraphs 1. and 2. of this condi-
tion apply not only to us, but also
to any rating, advisory, rate serv-
dee or similar organization which
makes insurance inspections, sur-
veys, reports or recommendations.

4. Paragraph 2. of this sondition does
not apply to any inspections, sur-
veys, reports or recommendations we
may make relative to certification,
under state or municipal statutes,
ordinances or regulations, of boil-
era, pressure vessels or elevators.

| Premios

The first Named Insured shown in the
Declarations:

1. Is xesponsible for the payment of
all premiums; and
#. Will be the payee for any return

premiums we pay,

Transfer Of Your Rights And Duties
Under This Policy

Your rights and duties under this
policy may not be transferred without
eur written consent except in the case
of death of an individual named in-
sured.

If you die, your rights and duties
will be transferred to our legal
representative but only while acting
within the scope of duties as your
Legal representative. Until your le-
gal representative is appointed, any-~-
one having proper temporary custedy of
your property will have your rights
and duties but only with respect to
that property.

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Sarah Albrecht

From: Sarah Albrecht

Sent: Monday, August 04, 2014 12:20 PM

To: ‘Joel F, Handler’

Cc: Michael Urgo

Subject: 303 Taxi adv. Hayhurst; Our file No.: F-4625
Attachments: 7.18.14 Counsel Let re Lease Agreement F-4625.pdf
Joel,

Attached is our July 17, 2014 letter seeking the voluntary dismissal of 303 Taxi because it is simply a dispatch
company. We have not received a response from you. Please contact me to discuss the matter.

Sincerely,

Sarah E, Albrecht
Urgo & Nugent, Ltd.
2 N. LaSalle St., Suite 1800
‘ Chicago, IL 60602
Phone: (312)263-6635
Fax: (312)263-1329
e-mail: salprecht@urgoandnugentitd.com

 
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MJU/SEA F-4625

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
HELEN HAYHURST, )
Plaintiff,
VS. Court No.; 14 CV 2196
303 TAXI, LLC and JAROSLAVAS BIELTAUSKAS, 5
Individually and as agent of 303 TAXI, LLC, )
Defendants,

AFFIDAVIT OF ANRE NISENBOIM
1, Anre Nisenboim, on behalf of 303 TAXI, LLC, being first duly sworn on oath, do state
and depose that I have personal knowledge of all facts in this affidavit and if called to testify,
could testify competently to the following.

L That I am the General Manager of 303 TAXI, LLC and am authorized to speak on behalf
of same.

2. 303 TAXI, LLC is:a taxi dispatch company which leases. certain dispatch equipment for
use of taxi drivers.

3, JAROSLAVAS BIELIAUSKAS was not an employee of 303 TAXT, LLC on or about
June 10, 2013. ,

4, 303 TAXI, LLC did not pay salary to JAROSLAVAS BIELIAUSKAS,

5. 303 TAXI, LLC did not withhold taxes on behalf of JAROSLAVAS BIELIAUSKAS,

6, 303 TAXI,.LLC had no authority to.determine the hours that the cab was operated by
JAROSLAVAS BIELIAUSKAS,

7, 303 TAXI, LLC had no authority to determine which customers JAROSLAVAS
BIELIAUSKAS picked up.

8. 303 TAXI, LLC had no right to share in any profits or losses made through the use of the
medallion or the cab by JAROSLAVAS BIELIAUSKAS.,

~ EXHIBIT

  
 
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9, JAROSLAVAS BIELIAUSKAS was not required to report the location of the cab while
driving, maintain a trip sheet, keep a written record of fares, or report fares collectéd.to
303 TAXI, LLC

10. 303 TAXI, LLC was not the owner of the vehicle operated by JAROSLAVAS
BIELIAUSKAS at aforesaid time.

11. 303 TAX, LLC did not pay for gas usage during cab operations nor controlied where gas
could be purchased by JAROSLAVAS BIELIAUSKAS,

12, 303 TAXI, LLC was not responsible for maintenance of vehicle and did not require
JAROSLAVAS BIELIAUSKAS to use specific maintenance services.

FURTHER AFFIANT SAYETH NAUGHT.

STATE OF ILLINOIS )
y ss
COUNTY OF COOK )

This %. was signed before me on D ecepteer / elif teet / 2014

la Li
“eRe.

OFFICIAL SEAL
LILLIAN PODUNAVAG

Notary Public - State of Hlinois
My Commission Expires Feb 25, 2017

 
